10/20/2020    Case: 1:22-cv-03861
                            Yahoo MailDocument      #:et11-26
                                      - DOJ, BJA, OJP              Filed:
                                                         al Violation       11/14/22
                                                                      of Whistleblower ActPage  1 of& 74
                                                                                          NDAA 2013       PageID
                                                                                                      41 U.S.C. Section#:457
                                                                                                                        4712




     DOJ, BJA, OJP et al Violation of Whistleblower Act NDAA 2013 & 41 U.S.C. Section 4712

     From: Dr. Fred Nance Jr. (drfred.nancejr@gmail.com)

     To:     michael.dever@usdoj.gov; andre.bethea@usdoj.gov; tracey.willis@usdoj.gov; jwilliams@air.org

     Cc:     frednance@clickservices.org; drfred.nancejr@gmail.com; nicole.harvey@mail.house.gov;
             josie.ware@mail.house.gov; tumia.romero@mail.house.gov

     Date: Saturday, October 17, 2020, 12:24 PM CDT



     Good afternoon.

     Before I address the Whistleblower Act violations, I want to address you, Mr. Dever, stating in your emails to me I should
     copy Dr. Wash also. Why should I copy Dr. Wash? Dr. Wash has not copied or sent me anything she has sent to you. As
     a matter of fact, you report she submitted documents to why she wanted to give up the grant and you accepted it. Dr.
     Wash did not send me a copy of what she submitted to you on closing the grant. Where is my copy? I have no idea
     about the lies she may have told you about the Grant and me. You can give it to me now, or you certainly will give it to
     me in the Discovery Processes in Court.

     Attached are supporting documents for my Federal Complaint, which you guys have working knowledge of because the
     documents were sent to you before this email and you did nothing. Some of these supporting documents are emails and
     hand written notes, which are admissible in Federal Court.

     My original Whistleblower Complaint dated April 17, 2020, which I sent to Tracey Willis and Andre Bethea, was never
     addressed. If addressed, we may not be here today addressing Federal litigation for violating the Whistleblower Act by
     terminating my employment.

     Mr. Williams asked the EMAGES management team and evaluator, Dr. Wash, Dr. Nance, Daniel, and Dr. Witherspoon, if
     we wanted to change our P&I Guide to adjust to the Covid-19 crisis as others with SCA grants that he (Mr. Williams) is
     their Technical Advisor also. Mr. Williams informed us some of his SCA people have decided to change their P&I Guides.
     Dr. Wash and the team said we did not have to change our P&I Guide because we had a plan, which our plan is
     documented in my hand written notes. I have hand written notes about this discussion, which are attached. We told Mr.
     Williams we had a strategy to keep moving forward with services.

     Similarly situated organizations/companies were allowed to change their P&I Guides to fit the Covid-19 pandemic. Dr.
     Wash chose to lie to you, and you believed her without consulting anyone. Since we were not allowed to change our P&I
     Guide as similarly situated groups, you have discriminatory practices. My hand written notes support my position,
     responsibilities, and duties as Program Director. I continuously fulfilled my duties beyond measure.

     Dr. Wash lied to you about why she was returning the grant, which is documented in one of the emails attached that I
     sent to you. I have not received my check for the pay period ending 10/2/20. I have not received my check for the pay
     period Dr. Wash claimed at the beginning of holding back a check. You can respond if you wish. Thank you.

     --
     /s/Dr. Fred Nance Jr., Ph.D.
     Human Services/Social Policy Analysis
     Program and Policy Development
     708-921-1395

             10.17.20 Joseph Williams Email Chain for 4.1.20.pdf
             74.7kB

             10.17.20 Joseph Williams Email Chain for 5.4.20 Monthly Meeting.pdf
             83.7kB
             10.17.20 Joseph Williams Email Chain for 5.21.20 re Covid 19 Teleconferencing.pdf
             80.7kB



                                                                                                                                  1/2
10/20/2020    Case: 1:22-cv-03861
                            Yahoo MailDocument      #:et11-26
                                      - DOJ, BJA, OJP              Filed:
                                                         al Violation       11/14/22
                                                                      of Whistleblower ActPage  2 of& 74
                                                                                          NDAA 2013       PageID
                                                                                                      41 U.S.C. Section#:458
                                                                                                                        4712


             10.17.20 Joseph Williams Email 7.23.20 TA Meeting for 8.4.20.pdf
             84.1kB

             10.17.20 Joseph Williams Email 8.21.20 leading to 2nd Whistleblower Complaint.pdf
             175.5kB
             10.17.20 Joseph Williams Email 8.21.20 Attachments to Support.pdf
             77.5kB
             10.17.20 Joseph Williams Email 8.27.20 leading to 2nd Whistleblower Complaint.pdf
             138.3kB
             10.17.20 Email 9.1.20 to Tracey Willis et al Cook County Jail Opening.pdf
             145.3kB

             10.17.20 Email 9.29.20 Whistleblower Complaints and Retaliation.pdf
             92kB

             10.17.20 Dr. Nance Statement on Termination of SCA Grant.pdf
             81.3kB

             10.17.20 Email BJA Officials Allowed Dr. Wash to Retaliate against me.pdf
             126.4kB
             10.17.20 Tracey Willis Email Chain re Whistleblower Complaint.pdf
             96.8kB
             10.17.20 S.O. Suspension and termination of the Second Change Act grant.pdf
             260.8kB
             10.17.20 Email to Congressman Davis re Whistleblower Complaints.pdf
             102.8kB
             10.17.20 Joseph Williams Email 8.4.20 TA Meeting.pdf
             76.6kB
             10.17.20 Email 9.21.20 from Jail on Reopening Instructions.pdf
             168.6kB
             10.17.20 EMAGES TA Handwritten Notes for Covid 19 and Mentor Meetings.pdf
             8MB




                                                                                                                               2/2
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26 Gmail
                                                    Filed:   11/14/22
                                                          - Fw: EMERGE Page 3 of 74 PageID #:459



                                                                                      Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Fw: EMERGE
  1 message

  Fred Nance Jr., Ph.D. <frednance@clickservices.org>                                                         Tue, Jun 2, 2020 at 10:59 AM
  Reply-To: "Fred Nance Jr., Ph.D." <frednance@clickservices.org>
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>




    /s/Dr. Fred Nance Jr., PhD
    Health & Human Services
    Social Policy Analysis and Planning
    www.clickservices.org
    708-921-1395

    NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message, and any and all attachments
    transmitted with it are intended solely for the use of the addressee and may contain legally privileged and confidential information. If
    the reader of this message is not the intended recipient, or an employee or agent responsible for delivering this email message to
    the intended recipient, you are hereby notified that any dissemination, distribution, copying, or other use of the message or its
    attachments is strictly prohibited. If you have received this email message and its attachments if any, in error, please notify the
    sender immediately by replying to the message and please delete it from your computer. Thank you.



    ----- Forwarded Message -----
    From: Williams, Joseph <jwilliams@air.org>
    To: Fred Nance Jr. <frednance@clickservices.org>
    Sent: Tuesday, April 7, 2020, 10:30:27 AM CDT
    Subject: RE: EMERGE


    We are meeting via GoToMeeting. I sent out a recurring meeting invitation last week. Let me know if you can’t find it.




    From: Fred Nance Jr. <frednance@clickservices.org>
    Sent: Tuesday, April 7, 2020 11:28 AM
    To: Williams, Joseph <jwilliams@air.org>
    Subject: Re: EMERGE



    External email alert: Be wary of links & attachments.

    Good morning. How are we communicating this morning for the conference meeting?

    Sent from my iPhone

    Dr. Fred L Nance Jr

    PhD Human Services

    Social Policy Analysis

    708-921-1395


https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1668403502981259508&simpl=msg-f%3A16684035029…           1/5
10/17/2020     Case: 1:22-cv-03861 Document #: 11-26 Gmail
                                                     Filed:   11/14/22
                                                           - Fw: EMERGE Page 4 of 74 PageID #:460
    www.clickservices.org




             On Apr 1, 2020, at 11:56 AM, Williams, Joseph <jwilliams@air.org> wrote:



             You are gracious. Made the changes.




             From: Fred Nance Jr., Ph.D. <frednance@clickservices.org>
             Sent: Wednesday, April 1, 2020 12:18 PM
             To: Williams, Joseph <jwilliams@air.org>
             Subject: Re: EMERGE



             External email alert: Be wary of links & attachments.

             No worries about the name. The name is really "MA`AT Project". Thank you.


             /s/Dr. Fred Nance Jr., PhD
             Health & Human Services
             Social Policy Analysis and Planning
             www.clickservices.org
             708-921-1395


             NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message, and any and all
             attachments transmitted with it are intended solely for the use of the addressee and may contain legally privileged
             and confidential information. If the reader of this message is not the intended recipient, or an employee or agent
             responsible for delivering this email message to the intended recipient, you are hereby notified that any
             dissemination, distribution, copying, or other use of the message or its attachments is strictly prohibited. If you have
             received this email message and its attachments if any, in error, please notify the sender immediately by replying to
             the message and please delete it from your computer. Thank you.




             On Wednesday, April 1, 2020, 11:10:38 AM CDT, Williams, Joseph <jwilliams@air.org> wrote:




             Good morning Dr. Nance,

             First I apologize for using the term EMERGE instead of EMAGES. Please pardon the mental lapse. I will
             correct it. 11:00 Central will be fine. I will mare the changes. Hope you have a good day.




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1668403502981259508&simpl=msg-f%3A16684035029…    2/5
10/17/2020     Case: 1:22-cv-03861 Document #: 11-26 Gmail
                                                     Filed:   11/14/22
                                                           - Fw: EMERGE Page 5 of 74 PageID #:461


             From: Fred Nance Jr., Ph.D. <frednance@clickservices.org>
             Sent: Wednesday, April 1, 2020 11:42 AM
             To: Dr. Hattie Wash <washhattie@gmail.com>; Daniel Jean <daniel_jean716@yahoo.com>; Williams,
             Joseph <jwilliams@air.org>
             Cc: Fred Nance Jr. <frednance@clickservices.org>
             Subject: Re: EMERGE



             External email alert: Be wary of links & attachments.

             Mr. Williams:


             I read your "EMERGE" email before reading the email Dr. Wash submitted and your
             response to her. Even though no one from my team asked me my preference for a day
             and time, I can do the first Tuesday of each month. There seems to be a time
             discrepancy. In your "EMERGE" email the time is 10:00 am to 11:00 am. In your
             response to Dr. Wash, you note 11:00 am Central. Can we all agree on 11:00 am
             (CST)? Please respond. Thanks


             /s/Dr. Fred Nance Jr., PhD
             Health & Human Services
             Social Policy Analysis and Planning
             www.clickservices.org
             708-921-1395


             NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message, and any and all
             attachments transmitted with it are intended solely for the use of the addressee and may contain legally privileged
             and confidential information. If the reader of this message is not the intended recipient, or an employee or agent
             responsible for delivering this email message to the intended recipient, you are hereby notified that any
             dissemination, distribution, copying, or other use of the message or its attachments is strictly prohibited. If you have
             received this email message and its attachments if any, in error, please notify the sender immediately by replying to
             the message and please delete it from your computer. Thank you.




             On Wednesday, April 1, 2020, 10:23:13 AM CDT, Fred Nance Jr., Ph.D. <frednance@clickservices.org>
             wrote:




             Good morning. Yes, I will join your meeting. I will join phone. I cannot join with my SCA
             computer because I do not have virus protection.


             /s/Dr. Fred Nance Jr., PhD

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1668403502981259508&simpl=msg-f%3A16684035029…    3/5
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26 Gmail
                                                    Filed:   11/14/22
                                                          - Fw: EMERGE Page 6 of 74 PageID #:462

             Health & Human Services
             Social Policy Analysis and Planning
             www.clickservices.org
             708-921-1395


             NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message, and any and all
             attachments transmitted with it are intended solely for the use of the addressee and may contain legally privileged
             and confidential information. If the reader of this message is not the intended recipient, or an employee or agent
             responsible for delivering this email message to the intended recipient, you are hereby notified that any
             dissemination, distribution, copying, or other use of the message or its attachments is strictly prohibited. If you have
             received this email message and its attachments if any, in error, please notify the sender immediately by replying to
             the message and please delete it from your computer. Thank you.




             On Wednesday, April 1, 2020, 09:37:05 AM CDT, Williams, Joseph <jwilliams@air.org> wrote:




             ──────────────────────────────────────────────────




             Please join my meeting from your computer, tablet or smartphone.




             https://global.gotomeeting.com/join/175699405




             You can also dial in using your phone.

             (For supported devices, tap a one-touch number below to join instantly.)



             United States: +1 (786) 535-3211

             - One-touch: tel:+17865353211,,175699405#



             Access Code: 175-699-405




             New to GoToMeeting? Get the app now and be ready when your first meeting starts:
             https://global.gotomeeting.com/install/175699405


https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1668403502981259508&simpl=msg-f%3A16684035029…    4/5
10/17/2020     Case: 1:22-cv-03861 Document #: 11-26Gmail
                                                     Filed:   11/14/22
                                                          - Monthly Check InPage 7 of 74 PageID #:463



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Monthly Check In
  4 messages

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                               Mon, May 4, 2020 at 2:50 PM
  To: jwilliams@air.org
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance Jr." <frednance@clickservices.org>

    Mr. Williams:

    Good afternoon. Are you sending a link for our communication on Tuesday, May 5, 2020? If I remember correctly, we
    (EMAGES) have a conference call with you the 1st Tuesday of each month. Please advise. Thank you.

    On another note: I am transferring all emails regarding our SCA grant to this email address: drfred.nancejr@gmail.com. I
    will still monitor my "clickservices" emails. Thanks.

    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395


  Williams, Joseph <jwilliams@air.org>                                                                  Mon, May 4, 2020 at 3:32 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Thank you Dr. Nance,

    I hope that all is well with you. I saw that you were on the webinar today. Hopefully, you found it helpful. I updated your
    email. The meeting link I sent is for a recurring meeting. It is the same each month. I emailed you another link.




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Monday, May 4, 2020 3:51 PM
    To: Williams, Joseph <jwilliams@air.org>
    Cc: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>; Dr. Fred Nance Jr. <frednance@clickservices.org>
    Subject: Monthly Check In



    External email alert: Be wary of links & attachments.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                         Mon, May 4, 2020 at 4:38 PM
  To: "Williams, Joseph" <jwilliams@air.org>

    Thank you.
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                                   Tue, May 5, 2020 at 9:12 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    You are welcome

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-181526011607647568&simpl=msg-a%3Ar-104657742…   1/2
10/17/2020     Case: 1:22-cv-03861 Document #: 11-26Gmail
                                                     Filed:   11/14/22
                                                          - Monthly Check InPage 8 of 74 PageID #:464
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-181526011607647568&simpl=msg-a%3Ar-104657742…   2/2
10/17/2020   Case: 1:22-cv-03861 Document #: 11-26    Filed:
                                             Gmail - SCA Month11/14/22       Page 9 of 74 PageID #:465
                                                               Activities & Covid-19



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  SCA Month Activities & Covid-19
  2 messages

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                           Thu, May 21, 2020 at 11:52 AM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: Daniel Jean <daniel_jean716@yahoo.com>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, Hattie Wash
  <Washhattie@gmail.com>


    Mr. Williams:

    Good afternoon. I received your email regarding this subject. Dr. Wash and Mr. Jean report they did not receive this email.
    I almost missed this email because it was sent to the wrong email address. Please use the email addresses in this
    message for all future communications.

    We did nothing special for SCA Month due to the Coronavirus. We are following our State's "Stay at Home" Order. We
    have 7 groups we originally provide our trauma-informed and mentoring services to with this grant, including case
    management. Due to the Coronavirus 2 groups were suspended, which were groups outside of EMAGES (Illinois
    Department of Corrections Special Needs Unit and the Cook County jail). At this time, we are not providing face-to-face
    contact. We are serving 85% to 90% of our normal services in this grant via teleconferencing.

    The teleconferencing being provided is to 5 of our groups, which are normally held at EMAGES. These 5 groups are
    receiving trauma-informed and mentoring services, along with case management. If you need further information, please
    do not hesitate to contact us. Thank you.

    Have a safe and blessed day.

    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395


  Williams, Joseph <jwilliams@air.org>                                                                 Thu, May 21, 2020 at 4:14 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>
  Cc: Daniel Jean <daniel_jean716@yahoo.com>, Hattie Wash <Washhattie@gmail.com>


    Dr. Nance,

    Thank you for this update. These emails usually go to the POC. You were listed as the POC from the BJA list I received. I
    have updated your email address and added Dr. Wash’s email address as a second POC.

    Hope all of you have a safe and blessed day as well.




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Thursday, May 21, 2020 12:53 PM
    To: Williams, Joseph <jwilliams@air.org>
    Cc: Daniel Jean <daniel_jean716@yahoo.com>; Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>; Hattie Wash
    <Washhattie@gmail.com>
    Subject: SCA Month Activities & Covid-19



    External email alert: Be wary of links & attachments.

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-8165439329565203351&simpl=msg-a%3Ar71537626…   1/2
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26    Filed:
                                               Gmail - SCA    11/14/22
                                                           Month              Page 10 of 74 PageID #:466
                                                                 Activities & Covid-19
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-8165439329565203351&simpl=msg-a%3Ar71537626…   2/2
10/17/2020   Case: 1:22-cv-03861 DocumentGmail
                                          #: 11-26      Filed:
                                               - Appearance      11/14/22
                                                            of Fraud          Page 11 of 74 PageID #:467
                                                                     Grant# 2018-CY-BX-0025



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Appearance of Fraud Grant# 2018-CY-BX-0025
  1 message

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                              Sat, Apr 18, 2020 at 1:04 AM
  To: Tracey.Willis@usdoj.gov
  Cc: Andre.Bethea@usdoj.gov, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance Jr."
  <frednance@clickservices.org>

    Good morning. I want to report the appearance of fraud with our grant. I am claiming
    "Whistleblower" status with this report. Attached is my letter and supporting documentation. Please
    review and comment. Thank you.
    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395

     13 attachments
         4.17.20 SCA Payroll Fraud Letter.pdf
         1134K
         3.30.20 EMAGES Drawdown from OJP.pdf
         283K
         1.27.20 thru 2.24.20 Dorothy Collins Payroll.pdf
         90K
         4.8.20 Dorothy Text Message on Resigning in January 2020.pdf
         308K
         4.8.20 Email Alert to Accountant Bradley re Fraud.pdf
         53K
         4.8.20 Email Message to Mr. Bradley re Fraud.pdf
         53K
         4.10.20 Email Message to Mr. Bradley with Supporting Docs on Fraud.pdf
         52K
         4.10.20 Email to Accountant re Fraud Validated.pdf
         52K
         4.15.20 Final Email to Accountant re Fraud.pdf
         52K
         4.15.20 Drawdown for Non Employee Dorothy Collins.pdf
         74K
         4.17.20 Texts Re Laptop Computer Virus Protection.pdf
         1210K
         3.31.20 MA`AT Mentor Requesting Call-In for Coronavirus.pdf
         51K
         4.7.20 TA Meeting Non Attendance due to Virus Protection.pdf
         81K




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar4754559143255092598&simpl=msg-a%3Ar474960169…   1/1
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26    Filed: 11/14/22
                                              Gmail - GoToMeeting Invitation - Page
                                                                               EMAGES12 of 74 PageID #:468



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  GoToMeeting Invitation - EMAGES
  4 messages

  Williams, Joseph <jwilliams@air.org>                                                          Thu, Jul 23, 2020 at 3:43 PM
  To: "Fred Nance Jr." <frednance@clickservices.org>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, Hattie Wash
  <Washhattie@gmail.com>, Daniel Jean <daniel_jean716@yahoo.com>, "Dr. Karen Witherspoon"
  <doctorwitherspoon@gmail.com>


    EMAGES

    Please join my meeting from your computer, tablet or smartphone.

    https://global.gotomeeting.com/join/175699405



    You can also dial in using your phone.
    (For supported devices, tap a one-touch number below to join instantly.)

    United States: +1 (786) 535-3211
    - One-touch: tel:+17865353211,,175699405#

    Access Code: 175-699-405



    New to GoToMeeting? Get the app now and be ready when your first meeting starts: https://global.gotomeeting.
    com/install/175699405



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                            Thu, Jul 23, 2020 at 10:51 PM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Fred Nance Jr." <frednance@clickservices.org>, Hattie Wash <Washhattie@gmail.com>, Daniel Jean
  <daniel_jean716@yahoo.com>, "Dr. Karen Witherspoon" <doctorwitherspoon@gmail.com>

    Thanks, I'll be there.
    [Quoted text hidden]
    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395


  Hattie Wash <washhattie@gmail.com>                                                           Fri, Jul 24, 2020 at 11:04 AM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Fred Nance Jr." <frednance@clickservices.org>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, Daniel Jean
  <daniel_jean716@yahoo.com>, "Dr. Karen Witherspoon" <doctorwitherspoon@gmail.com>

    This is the Tuesday August 4 11am meeting right.

    Sent from my iPhone


             On Jul 23, 2020, at 3:43 PM, Williams, Joseph <jwilliams@air.org> wrote:



             [Quoted text hidden]
https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1673041818227448725&simpl=msg-f%3A16730418182…   1/2
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26    Filed: 11/14/22
                                              Gmail - GoToMeeting Invitation - Page
                                                                               EMAGES13 of 74 PageID #:469



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                           Fri, Jul 24, 2020 at 2:33 PM
  To: Hattie Wash <washhattie@gmail.com>
  Cc: Daniel Jean <daniel_jean716@yahoo.com>, "Dr. Karen Witherspoon" <doctorwitherspoon@gmail.com>, "Fred Nance Jr."
  <frednance@clickservices.org>, "Williams, Joseph" <jwilliams@air.org>

    Yes, it is.
    [Quoted text hidden]
    --
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1673041818227448725&simpl=msg-f%3A16730418182…   2/2
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                GmailFiled:
                                                     - August11/14/22    Page 14 of 74 PageID #:470
                                                             4, 2020 TA Meeting



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  August 4, 2020 TA Meeting
  2 messages

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                            Thu, Jul 23, 2020 at 2:35 PM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Dr. Karen Witherspoon" <doctorwitherspoon@gmail.com>, "Dr. Hattie Wash" <Washhattie@gmail.com>, Daniel Jean
  <daniel_jean716@yahoo.com>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Mr. Williams: Good afternoon. Dr. Karen Witherspoon, our evaluator, will be on the call for our monthly meeting, August 4,
    2020, at 11:00 am (CST). Please send all of us, individually, the call-in number or link to the session. If you have any
    comments or questions, please do not hesitate to contact us by replying to "all" with your discussion. Thank you.

    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395


  Williams, Joseph <jwilliams@air.org>                                                     Thu, Jul 23, 2020 at 3:44 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>
  Cc: "Dr. Karen Witherspoon" <doctorwitherspoon@gmail.com>, "Dr. Hattie Wash" <Washhattie@gmail.com>, Daniel Jean
  <daniel_jean716@yahoo.com>


    Done.




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Thursday, July 23, 2020 3:35 PM
    To: Williams, Joseph <jwilliams@air.org>
    Cc: Dr. Karen Witherspoon <doctorwitherspoon@gmail.com>; Dr. Hattie Wash <Washhattie@gmail.com>; Daniel Jean
    <daniel_jean716@yahoo.com>; Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Subject: August 4, 2020 TA Meeting



    External email alert: Be wary of links & attachments.

    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-6796663291991810400&simpl=msg-a%3Ar-67950108…   1/1
10/17/2020   Case: 1:22-cv-03861 Document #: 11-26
                                                GmailFiled:
                                                      - Grant 11/14/22    Page 15 of 74 PageID #:471
                                                              #2018-CY-BX-0025



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Grant #2018-CY-BX-0025
  11 messages

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                         Fri, Aug 21, 2020 at 4:40 PM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Mr. Williams:

    Good afternoon. We are scheduled for our monthly meeting on September 1, 2020. I would like for us to discuss the
    Office of Chief Financial Officer (OJP) Webinar/Registration Announcement September/October 2020 Financial
    Management Training Webinar. Registration opens on August 26, 2020 at 2:00 pm (EST). I am inviting our accountant to
    attend this meeting. Also, I want to discuss the new JustGrants Update due to begin on October 15, 2020.

    I want to report our proposal in the beginning paragraph states, "EMAGES, Inc. in collaboration with C.L.I.C.K. Services,
    Inc...." C.L.I.C.K. is my company. I work for C.L.I.C.K. not EMAGES. The reason I report this is because I cannot get Dr.
    Wash to understand C.L.I.C.K. is a partner with this grant. Dr. Wash has the role of fiduciary and I have the role of Project
    Director, which is described and outlined in our initial proposal for this grant that was funded.

    Now, the reason I want to discuss the Financial Management Training Webinar is because I have trouble getting my
    partner, Dr. Wash, to listen to what I know about the Second Chance Act policies. Around March or April 2020 I reported a
    misappropriation of funds or possible fraud pursuant to the Whistleblower Act with our grant manager and Mr. Bethea. I
    reported this issue to them via the Whistleblower Act to secure the grant and my interest in the grant; so no retaliation can
    take place from Dr. Wash or DOJ.

    The issue in March/April 2020 is Dr. Wash drew down money for an employee that did not exist. When I talked to her
    about it she told me to mind my own business, which to her is the program. Neither the grant manager or Mr. Bethea have
    commented. Nevertheless, I will discuss it during this upcoming Financial Management Training September/October
    2020.

    On another financial issue, our budget reports $2800.00 a month for consultants (mentors). On or about March 21, 2020
    two of our programs, Cook County jail and IDOC's Special Needs Unit, were closed due to the Coronavirus. Four mentors
    were assigned to these 2 programs.

    I get a copy of our monthly drawdown. When I reviewed the drawdowns for February, March, April, May, June, and July of
    2020, I found the following: February thru June 2020 there was a drawdown of $2800.00 each month. I send Dr. Wash the
    payroll every month for the mentors/consultants. This is what I submitted to her:

    February 2020 - $2,150.00
    March 2020 - $2,600.00
    April 2020 - $2,100.00
    May 2020 - $1,800.00
    June 2020 - $2,300.00

    In July of 2020, I informed Dr. Wash of the February thru June 2020 discrepancies. Even though I informed her she
    should not drawdown more than what is billed, she drew down $2800.00 each month. I submitted to Dr. Wash a July
    consultant payroll of $2,100.00. Dr. Wash drew down $2800.00 again.

    I informed Dr. Wash pursuant to the DOJ Financial Training I was mandated to attend earlier in our grant period, a
    grantee must spend all monies drawn down during the drawdown period; no grantee can hold funds in their bank
    accounts (this is not verbatim). Dr. Wash told me to mind my own business and that I was supposed to be working with
    the program and not the fiduciary part of the program. I told her I was not going to compromise my integrity and values.
    Silence is complicity. I informed her I would tell you about this present issue. Dr. Wash told me you are our technical
    advisor, not our grant manager; and that you could not do anything about it. Dr. Wash told me I do not know anything
    about accounting procedures.

    I am presenting this to you today so we can discuss these issues during our meeting on September 1, 2020 with you. In
    addition, I am reporting the issue in a timely manner to preserve the grant and my interest in the grant pursuant to the

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar3956468084727839544&simpl=msg-a%3Ar797269249…   1/4
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                 GmailFiled:
                                                       - Grant 11/14/22    Page 16 of 74 PageID #:472
                                                               #2018-CY-BX-0025
    Whistleblower Act. Dr. Wash has threatened me by saying she would give the grant up. I stopped this threat by telling her
    I would take the grant through C.L.I.C.K. Services, NFP.

    Another reason for my writing this message to you is to report our program's need for a support staff/clerk. Approximately,
    2 weeks ago I agreed to employ Dr. Wash's administrative assistant as the support staff/clerk, who also handles Dr.
    Wash's financial business. After not receiving information I asked for weeks ago, I decided I did not want this person as
    the support staff/clerk. Dr. Wash sent me an email on August 21, 2020 stating I agreed to have her and that I do not have
    the authority to request she resign and I cannot terminate her. Dr. Wash also informed me if I did not work with her I would
    not get the information I need for my work. So, I guess I will not get the information I need for reporting on this grant.

    Should I forward this information to our grant manager and Mr. Bethea? The reason Mr. Bethea gets my messages is
    because I brought some issues to him earlier in our grant period and he informed the grant manager he wanted to be
    copied on all messages the grant manager may send to me. I have known Mr. Bethea for about 8 or 10 years. I have
    been a peer reviewer for the SCA since 2009. I have reviewed over a 100 proposals. I know the SCA policy.

    I am attaching the DOJ Financial Management Training Policies for the issues I raise here regarding drawdowns. Thank
    you.
    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395

     2 attachments
          8.21.20 DOJ Financial Management Drawdown Policy.pdf
          595K
          8.21.20 Grant 2018 CY BX 0025 Drawdowns.pdf
          2338K


  Williams, Joseph <jwilliams@air.org>                                                               Mon, Aug 24, 2020 at 11:48 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Good morning Dr. Nance.

    Please see the attached directive from BJA. Have you seen this?




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Friday, August 21, 2020 5:41 PM
    To: Williams, Joseph <jwilliams@air.org>
    Cc: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Subject: Grant #2018-CY-BX-0025



    External email alert: Be wary of links & attachments.

    [Quoted text hidden]


          BJA Directive 1.pdf
          326K


  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                      Mon, Aug 24, 2020 at 12:13 PM
  To: "Williams, Joseph" <jwilliams@air.org>

    Yes. I have seen this document. Is there something specific you want me to understand?
    [Quoted text hidden]


https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar3956468084727839544&simpl=msg-a%3Ar797269249…   2/4
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                 GmailFiled:
                                                       - Grant 11/14/22    Page 17 of 74 PageID #:473
                                                               #2018-CY-BX-0025

  Williams, Joseph <jwilliams@air.org>                                                                 Mon, Aug 24, 2020 at 1:02 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    I just wondered if you are taking into account that BJA is allowing grantees to pay staﬀ even if they are not
    able to fulﬁll all of their responsibili es.

    Joseph Williams
    Senior Consultant
    American Institutes for Research
    Email: jwilliams@air.org
    Office: 202-403-6924
    Mobile: 313-505-3577

    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Monday, August 24, 2020 1:13 PM
    To: Williams, Joseph <jwilliams@air.org>
    Subject: Re: Grant #2018-CY-BX-0025

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Mon, Aug 24, 2020 at 1:22 PM
  To: "Williams, Joseph" <jwilliams@air.org>

    No. The staff did not work during the period they drew money down for her. The person resigned the 1st week of January
    2020. They knew it. They drew down money for this person in February and March of 2020. When I brought it to Dr. Wash
    attention, she began berating and disrespecting me. In future drawdowns I saw nothing reporting they put the money
    back. This was my 1st complaint to the DOJ grant manager and Mr. Bethea. We cannot ignore what she is doing with the
    budget and drawdowns.

    This is the 2nd issue with drawdowns. There is no reason to drawdown monies for contractors who are not working the
    hours. We have 2 programs that are closed requiring payment for 4 mentors pursuant to our budget. These 2 programs
    closed due to the Coronavirus. Dr. Wash is drawing these monies down anyway. She drew money down for these 2
    programs for March thru June 2020. When I brought it to her attention she berated and disrespected me; and drew the
    monies down again for July 2020. I submitted the payroll for March thru July 2020. She knew each month the amount of
    money to drawdown. I needed to report these issues so you guys would know I had nothing to do with it. I am protecting
    the grant, my integrity and honesty. I worked to hard to get to where I am today.
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                                 Mon, Aug 24, 2020 at 2:43 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Dr. Nance,

    Thank you for this clarification. I have passed this along to my higher-ups for direction. I will be in touch.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Mon, Aug 24, 2020 at 3:18 PM
  To: "Williams, Joseph" <jwilliams@air.org>

    Thank you.
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Mon, Aug 24, 2020 at 4:28 PM
  To: "Williams, Joseph" <jwilliams@air.org>



https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar3956468084727839544&simpl=msg-a%3Ar797269249…   3/4
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                 GmailFiled:
                                                       - Grant 11/14/22    Page 18 of 74 PageID #:474
                                                               #2018-CY-BX-0025
    I forgot to tell you about the evaluator. Dr. Wash has been drawing down the evaluators salary without receiving an
    invoice from her. This goes on for months before an invoice is submitted from the evaluator. The evaluator is not at fault.
    Dr. Wash should drawdown funds for the evaluator after receiving her invoice. What is she doing with this money being
    held in her bank account? I believe the policy for drawdowns is a grantee must spend all monies drawn down for
    particular period.
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                       Mon, Aug 24, 2020 at 4:42 PM
  To: "Williams, Joseph" <jwilliams@air.org>

    The way the State of Illinois avoids financial fraud on their grants is a grantee has to submit an invoice to the State of
    Illinois before payment of services is rendered. The SCA can do the same thing.

    Even though we could drawdown funds for salaries, Dr. Wash made all us work 4 weeks before we got paid for our first 2
    week period. Dr. Wash said she had hold back 2 weeks before paying us. Does this mean after I work my last 2 weeks of
    the grant, I have another check coming? I do not think so!
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                                 Tue, Aug 25, 2020 at 9:28 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Good day Dr. Nance,

    I have forwarded your emails expressing your concerns to the officers at the BJA and to my supervisors. Hoping this can
    be resolved swiftly and that your project does not experience any further disruption.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Tue, Aug 25, 2020 at 9:41 AM
  To: "Williams, Joseph" <jwilliams@air.org>

    Thank you for your response.
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar3956468084727839544&simpl=msg-a%3Ar797269249…   4/4
10/17/2020   Case: 1:22-cv-03861 Document       #: &11-26
                                  Gmail - Dr. Wash          Filed:
                                                     Dr. Nance Email 11/14/22    Page
                                                                     Chain and Support    19
                                                                                       Staff    of Description
                                                                                             Clerk 74 PageID #:475


                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Dr. Wash & Dr. Nance Email Chain and Support Staff Clerk Description
  1 message

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                          Fri, Aug 21, 2020 at 8:16 PM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Mr. Williams:

    Good evening. I am sending you the email chain between Dr. Wash and I today. I numbered the emails in the order of
    discussion. I am sending you the job description for the Support Clerk position, which Dr. Wash and I agreed; and clearly
    states this person reports to me. I am sending you our abstract and proposal for grant #2018-CY-BX-0025. The proposal
    clearly states C.L.I.C.K. Services, NFP is the co-sponsor of the proposal and my responsibilities. (See Capabilities and
    Competencies Section pp. 17-19) The abstract begins with "EMAGES, Inc., in collaboration with C.L.I.C.K. Services,
    NFP...." I work for C.L.I.C.K.

    We know what John Lewis said "If you see something, do something...."

    Respectfully submitted

    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395

     4 attachments
         8.21.20 Email Chain between Dr. Wash and Dr. Nance.pdf
         1808K
         8.21.20 Support Staff Clerk generated by agreement on 3.2.20.pdf
         313K
         Project Abstract.pdf
         13K
         Project Narrative.pdf
         98K




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-6474258024624895908&simpl=msg-a%3Ar-64792154…   1/1
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26    Filed:
                                              Gmail - Center   11/14/22
                                                             Opening        Page
                                                                     and Other Issues20 of 74 PageID #:476



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Center Opening and Other Issues
  8 messages

  Hattie Wash <washhattie@gmail.com>                                                                    Fri, Aug 21, 2020 at 8:39 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    EMAGES has been open since the beginning of the pandemic. We are open Monday Tuesday and Wednesdays 10am to
    6 pm closed on Thursday and open half day Friday We are essential staff and work on a flex schedule. However, our
    groups are held through conference calls. But EMAGES Staff, mentors and Daniel Jean come in to see individual clients,
    complete their reports and call their clients, you are the only one that does not come in. I am at EMAGES on Wednesday
    and other days if needed, You told me that because of your health problems you wanted to work from home, which I
    could not deny during the stay at home order.

     I welcome the call or email to Mr. Williams, but as I said earlier I am willing to give the program up. I am also available for
    any type of audit that your Whistle Blower complaint will initiate. Because I know I will pass with flying colors. What you
    fail to realize is that you are an employee of EMAGES and you work for me. Yes we did collaborate on the submission of
    the federal grant. You were given the Director position and was scheduled to work with our stake holders and seek out
    funding for the continuation of the program. However, instead of doing your job, you want to supervise the day to day
    operations. We have a supervisor for that purpose. which I have advise you of on several times.


  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                         Fri, Aug 21, 2020 at 9:35 PM
  To: Hattie Wash <washhattie@gmail.com>

    I am not an employee of EMAGES. If you think I am an employee of EMAGES, terminate me. I do not work for you. You
    need to read the proposal in its entirety, specifically pages 17-19. I am in charge of the day-to-day operations. You did not
    give me anything. I chose to do what I do. Stop cherry-picking the proposal to fit your agenda. I have as much financial
    and programmatic interest as you with this grant. You need to read the Financial Management Training module for
    drawdowns. You need to stand down and do your job.

    Terminate me! We will see how that works with DOJ and the civil lawsuit I will file. I told you I was working from home due
    to the Coronavirus and the Stay at Home order. You told me EMAGES was closed because of the Stay at Home Order
    from Governor Pritzker and your State funders. You told me EMAGES would not be open for business and the public until
    you got monies for cleaning, masks, gloves, and other PPE pursuant to opening up legally. I decided to work from home
    until you are fully open; in order to know with some certainty it would be safe. I have shared with you my concerns about
    some of your staff walking around without masks on.

    You need to read the job description for the Clerk’s position, created on 3.2.20. The clerk reports to me and you. You
    need to read the Whistleblower Act. You cannot do anything to me. Pursuant to the Whistleblower Act, any negative
    action towards me triggers litigation.

    You should not involve Daniel in this mess. It will not turn out good. Daniel is an innocent bystander, unless you involve
    him. You should have corrected Sheila and told her to apologize for giving my information to Daniel. You should have told
    Sheila to give me what I asked when you found out I did not have it. I copied you on the emails, which was part of our
    “verbal” agreement. Instead you decide to come after me. As long as you, we, have known each other, you should have
    known there was no win coming after me. I argue and work with lawyers, judges, legislators, Governors, and Presidents;
    and they all still invite me to their business and personal events. Why? I tell them the truth! I give them solutions! They
    respect me! Disrespecting me only brings one numerous problems.

    You should back up and regroup. This will not stop at the grant falsely accusing me of wrongdoing. You report you will
    pass with flying colors. You really have no clue who I am! I don’t bother people. I treat all people fairly. My integrity,
    honesty, and commitment to the rule of law cannot be challenged. You should not attack these truths. You should work
    with them. Some people do not get second chances to make things right.
    [Quoted text hidden]
    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395
https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1675687754464280026&simpl=msg-f%3A16756877544…   1/4
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26    Filed:
                                              Gmail - Center   11/14/22
                                                             Opening        Page
                                                                     and Other Issues21 of 74 PageID #:477



  Hattie Wash <washhattie@gmail.com>                                                                    Sat, Aug 22, 2020 at 9:45 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

     I said what I mean do what you need to do nothing is changing on my end.

    Sent from my iPhone


             On Aug 21, 2020, at 9:35 PM, Dr. Fred Nance Jr. <drfred.nancejr@gmail.com> wrote:



             [Quoted text hidden]




  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                         Sat, Aug 22, 2020 at 1:50 PM
  To: Hattie Wash <washhattie@gmail.com>

    Nothing has changed on my end either.
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                         Sat, Aug 22, 2020 at 4:44 PM
  To: Hattie Wash <washhattie@gmail.com>

    On May 13, 2020 you announced EMAGES is open during our Wednesday meeting. You described a flex schedule for
    essential staff and work. Your flex schedule does not apply to the Second Chance Act MA`AT Project, which I discussed
    in an earlier email talking about Jaime Enge's issues with reopening during the Coronavirus. A little history...our
    Wednesday weekly management meetings.

    On May 20, 2020, during our Wednesday meeting, it was announced I do not have any face-to-face contact during the
    Coronavirus. 85% of participants are contacting thru teleconferencing; following Stay at Home Order. On May 27, 2020
    we talked about telephone codes different for S/O and MA`AT groups. On June 3, 2020 Sheila was brought on as support
    staff. On June 18, 2020, at our MA`AT mentors meeting, Consultant Jamie Enge requested a meeting with you and all
    EMAGES staff on the reopening of EMAGES on July6, 2020. I sent you an email on June 19, 2020 regarding this request.
    In the email I sent you on June 19, 2020, I informed you Chad did not attend the meeting. I also informed you I was going
    to record our weekly meetings so we would have notes. On July 1, 2020 we decided all forms would go to Daniel, that is,
    referrals and progress notes; and Daniel would give them to Sheila. On July 15, 2020 you discussed opening up
    EMAGES reporting you were waiting for the Stay at Home Order to be lifted. You informed us you had received
    $35,000.00 from the State for your EMAGES PPE supplies. You talked about social distancing; bringing staff back first;
    rotating attendance; physical distancing for groups and some participants staying with teleconferencing. You asked me to
    send our grant manager, Ms. Willis, an email regarding monies for sanitizing EMAGES and telehealth. We stated Sheila
    would get all forms for participant files. On July 22, 2020 we, Dr. Witherspoon, Daniel, Sheila, you, and me, discussed raw
    data being submitted to Dr. Witherspoon, such as questionnaires, evaluation tools, demographic information, participant
    attendance, and referrals. We talked about attendance by modules with dates. On August 5, 2020 we had in attendance
    Dr. Witherspoon, Daniel, Sheila, you and me. We talked about the data forms, questionnaires, speciality courts, referrals,
    pre/post release, funding after project, staff training, and 10th of the month for telephone listing. I never received the
    telephone listing. We talked about submitting attendance sheets Sheila would provide to me for Dr. Witherspoon with how
    many sessions each participant attended. These attendance sheets should have covered 10/1/19 to present. Sheila
    submitted a July 2020 attendance sheet to me, which did not have the 5th week on it. I emailed her to correct this issue.
    Sheila never responded. You and Daniel were copied on the email.

    There has not been any discussion since July 15, 2020 on when you would be opening up EMAGES for the "MA`AT"
    project staff and participants for normal business hours. We had a discussion on how the cleaning processes or group
    processes would be performed, social distancing and other preventive measures due to the Coronavirus. On March 16,
    2020 the Special Needs Unit suspended services due to the Coronavirus. The Special Needs Unit is still suspended. The
    Cook County jail suspended services around the same time as the Special Needs Unit. A week or 2 before these
    suspensions, I informed you I would be working from home due to the Coronavirus.

    On July 6, 2020 I sent a text to you and Sheila requesting Sheila send me all documents in my mailbox to me via email.
    Sheila responded ok. On July 10, 2020 Sheila sent me a message stating "I put Quarter 3 April -June 2020 Data
    Worksheet in your mailbox. You can complete April & May, I will do June on Tuesday and have ready for you at our
    meeting on Wednesday. Any questions or concern we can discuss on Wednesday. Effective July 10, 2020 I have created
https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1675687754464280026&simpl=msg-f%3A16756877544…   2/4
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26    Filed:
                                              Gmail - Center   11/14/22
                                                             Opening        Page
                                                                     and Other Issues22 of 74 PageID #:478

    a Monthly Case Management Data Form and I will submit it to you by the 10th of each month with the clients referrals,
    beginning August 2020." I responded "Sounds good." On July 14, 2020 I sent Sheila an email stating "Please send me all
    data forms via email. We are not physically meeting Wednesday. We are meeting via Skype at 1:00 pm. Thanks." See the
    July 20, 2020 email you were copied on for my discussion with Sheila, which was appropriate. Sheila had no complaints
    regarding my request.

    On August 7, 2020 I sent a text to you and Sheila at 7:42 am asking when would my check be ready for pick up, stating if
    it is 2:00 pm mail it to me. Neither one of you responded. I sent another text at 10:39 am stating "Since you guys cannot
    respond to me do not expect me to respond to anything. On August 19, 2020 Sheila sent me an email stating "Fred
    Nance, effective August 19, 2020, per your request I will be mailing your paycheck starting August 21st, 2020
    until EMAGES has reopened with normal operational hours." Sheila copied Daniel on this email. I replied back to
    Sheila copying you and Daniel, asking her why did she copy Daniel on my payroll issues. I asked her what kind of games
    are we playing now. Sheila went off with her response email to me. She stated "Effective August 19, 2020 at 6:30 pm any
    emails or texts written directly to me relating to DOJ/2nd Chance should come only from Daniel Jean or Dr. Wash. This is
    unacceptable. I suggested she resign. The rest has been discussed via emails between you and me.

    As I stated in an earlier email, and Sheila confirms my statement, I will return physically to work when EMAGES has
    reopened with normal operational hours. Until you issue a written statement that EMAGES has reopened with normal
    operational hours, I will be working from home due to the Coronavirus.

    On Fri, Aug 21, 2020 at 8:39 PM Hattie Wash <washhattie@gmail.com> wrote:
     EMAGES has been open since the beginning of the pandemic. We are open Monday Tuesday and Wednesdays 10am
     to 6 pm closed on Thursday and open half day Friday We are essential staff and work on a flex schedule. However,
     our groups are held through conference calls. But EMAGES Staff, mentors and Daniel Jean come in to see individual
     clients, complete their reports and call their clients, you are the only one that does not come in. I am at EMAGES on
     Wednesday and other days if needed, You told me that because of your health problems you wanted to work from
     home, which I could not deny during the stay at home order.

       I welcome the call or email to Mr. Williams, but as I said earlier I am willing to give the program up. I am also available
      for any type of audit that your Whistle Blower complaint will initiate. Because I know I will pass with flying colors. What
      you fail to realize is that you are an employee of EMAGES and you work for me. Yes we did collaborate on the
      submission of the federal grant. You were given the Director position and was scheduled to work with our stake holders
      and seek out funding for the continuation of the program. However, instead of doing your job, you want to supervise
      the day to day operations. We have a supervisor for that purpose. which I have advise you of on several times.

    [Quoted text hidden]


          8.21.20 Support Staff Clerk generated by agreement on 3.2.20.pdf
          313K


  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                       Wed, Aug 26, 2020 at 7:20 PM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Mr. Williams: Good evening. On August 21, 2020 Dr. Wash sent me the email below. On August 22, 2020 I responded. I
    trying not to send this email chain to you hoping she would change her position. Dr. Wash stated I would not get the
    information I need to perform my duties if I did not request the information that is in my mailbox at the office from her or
    Daniel. I informed Dr. Wash the support clerk, Sheila, was asked to send me the information. Dr. Wash states the support
    person reports to her and Daniel, not me. I informed Dr. Wash the Support Clerk's job description states the person
    reports to Dr. Wash and Dr. Nance. This is a retaliatory act by Dr. Wash.

    As you read this email chain, you will see Dr. Wash reminds me she will give up the grant. This statement was made back
    in April 2020 when I reported the first financial misappropriation of funds to Ms. Willis and Mr. Bethea. This is a threat
    from her to hurt me.

    Nevertheless, the Illinois Department of Corrections asked me in May of 2019 to create a 90-day transitional house for
    sex offenders. I agreed to pursue this endeavor. I am attaching my 90-day transitional housing proposal. On August 31,
    2020, I am meeting with a prominent Illinois Chicago Commissioner to discuss my proposal. I believe this is finally a good
    step forward to create this housing. I have been networking with Congressman Danny K. Davis of the 7th Congressional
    District for this housing. Congressman Davis and I rode through his District seeking possible housing property. I emailed
    Congressman Davis informing him I needed to upgrade this housing to include office space, anticipating the possibility of
    having to complete this SCA grant. Just covering my bases.


https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1675687754464280026&simpl=msg-f%3A16756877544…   3/4
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26    Filed:
                                              Gmail - Center   11/14/22
                                                             Opening        Page
                                                                     and Other Issues23 of 74 PageID #:479
    Thank you.
    [Quoted text hidden]


     2 attachments
          8.21.20 Support Staff Clerk generated by agreement on 3.2.20.pdf
          313K
          8.31.20 90 Day Transitional Housing Proposal.pdf
          129K


  Williams, Joseph <jwilliams@air.org>                                                                 Thu, Aug 27, 2020 at 1:01 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Dr. Nance,

    Thanks for sending this. I passed your emails along to Andre and Tracey. Have you heard from either of them?




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Wednesday, August 26, 2020 8:21 PM
    To: Williams, Joseph <jwilliams@air.org>
    Cc: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Subject: Fwd: Center Opening and Other Issues



    External email alert: Be wary of links & attachments.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Thu, Aug 27, 2020 at 1:48 PM
  To: "Williams, Joseph" <jwilliams@air.org>

    Good afternoon. No, I have not heard from them. I am going to send you another email soon. The "Support Staff" sent me
    an email telling me if I should have my timesheet submitted on a certain day. I have never received a message regarding
    turning my timesheet in on a certain day. I turn my timesheet into Dr. Wash, not the support staff. I will create a mirror of
    their timesheet and turn it via email today. This is another retaliatory action.

    In addition, neither the support staff or Dr. Wash has sent me my timesheets. They know I am working from home until
    they officially open for business. I am supposed to get my check biweekly, which is this Friday, August 28, 2020. I am
    receiving it now 5 to 7 days later because I asked them to send it to me by mail. I asked Dr. Wash when we got the grant
    to set up electronic checking with her bank. She refused stating she wanted to issue paper checks like she does for her
    regular programs. I continue to tell her this is a separate program.
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1675687754464280026&simpl=msg-f%3A16756877544…   4/4
10/17/2020   Case: 1:22-cv-03861 Document #: 11-26 Gmail
                                                   Filed:   11/14/22
                                                         - Cook County JailPage 24 of 74 PageID #:480



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Cook County Jail
  7 messages

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                             Fri, Aug 7, 2020 at 12:09 PM
  To: Jane Gubser <jane.gubser@cookcountyil.gov>, Ronald Howard <ronald.howard@cookcountyil.gov>
  Cc: Daniel Jean <daniel_jean716@yahoo.com>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Karen Witherspoon"
  <doctorwitherspoon@gmail.com>

    Good afternoon.This is the update from the Cook County Jail meeting this morning. The jail could be open to outside
    vendors by the end of August or early September 2020. Our program should begin again in September of 2020. The
    exact date will be forthcoming for starting the actual programming.

    Daniel and I suggested doubling up the sessions so we can bring the jail back on track with the current operation of
    programming, which could be conducting 2 sessions a week for about 6 months since we are attempting to make up time
    from April 2020 thru August 2020. Daniel and I will bring this subject up during our Wednesday team meeting.

    When the jail does open, the criteria before entering the jail will be overall screening due to the Coronavirus, temperature
    checks, physical distancing, and face masks while on the property of the jail.

    Sheriff Howard and I will discuss participant location and the timetable for recruitment before starting the program back up
    pursuant to the September 2020 date for outside vendors coming into the jail.

    If there is any additional information needed in this message, please comment. Thank you.

    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395


  Jane Gubser (Sheriff) <Jane.Gubser@cookcountyil.gov>                                        Fri, Aug 7, 2020 at 12:34 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Ronald Howard (Sheriff)" <Ronald.Howard@cookcountyil.gov>
  Cc: Daniel Jean <daniel_jean716@yahoo.com>, "Dr. Karen Witherspoon" <doctorwitherspoon@gmail.com>


    Thanks Dr. Nance.



    It looks like you covered everything.



    Thank you,



    Jane




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Friday, August 7, 2020 12:09 PM
    To: Jane Gubser (Sheriff) <Jane.Gubser@cookcountyil.gov>; Ronald Howard (Sheriff) <Ronald.Howard@cookcountyil.
    gov>
    Cc: Daniel Jean <daniel_jean716@yahoo.com>; Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>; Dr. Karen Witherspoon
    <doctorwitherspoon@gmail.com>
    Subject: Cook County Jail
https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1173388526587646243&simpl=msg-a%3Ar688684582… 1/3
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26 Gmail
                                                    Filed:   11/14/22
                                                          - Cook County JailPage 25 of 74 PageID #:481




                                                   External Message Disclaimer
       This message originated from an external source. Please use proper judgment and caution when
                       opening attachments, clicking links, or responding to this email.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Tue, Sep 1, 2020 at 12:31 PM
  To: "Williams, Joseph" <jwilliams@air.org>

    Good afternoon. First, I want to thank you for conducting our monthly meeting this morning, which was only attended by
    you and myself. It is with regret Dr. Wash sent you an email opting out of the meeting today. I was hoping we could
    continue the business of our grant program processes instead of having personal issues preventing us from proceeding
    as a unit to provide needed services and support for the population we agreed to work with during this grant period.
    Second, as promised, here is the progress note I generated to our pre-release partners, Cook County Department of
    Corrections, for reopening in the month of September 2020.

    ---------- Forwarded message ---------
    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    [Quoted text hidden]
    [Quoted text hidden]
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                             Tue, Sep 1, 2020 at 12:37 PM
  To: "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>, Andre Bethea <andre.bethea@usdoj.gov>, "Dever, Michael (OJP)"
  <Michael.Dever@usdoj.gov>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    This is the message I sent to Mr. Williams, our TA person. Mr. Williams and I met this morning for our virtual monthly
    meeting.
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                                  Tue, Sep 1, 2020 at 2:20 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Thank you for forwarding this. Have a good day and please continue to stay safe.




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Tuesday, September 1, 2020 1:32 PM
    To: Williams, Joseph <jwilliams@air.org>
    Subject: Fwd: Cook County Jail



    External email alert: Be wary of links & attachments.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Thu, Sep 10, 2020 at 7:30 PM
  To: "Dr. Hattie Wash" <Washhattie@gmail.com>


https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1173388526587646243&simpl=msg-a%3Ar688684582… 2/3
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26 Gmail
                                                    Filed:   11/14/22
                                                          - Cook County JailPage 26 of 74 PageID #:482

    Dr. Wash: You will see in this email that Daniel and I suggested doing 2 sessions a week to catch up to the other groups
    at EMAGES. I believe the budget will allow this to happen, that is, the monies for March 2020 to September 18, 2020
    could pay for one of the weeks as the present monies for the regular sessions going forward could pay for these
    sessions. What do you think? I will follow up with another email from Sheriff Howard.

    ---------- Forwarded message ---------
    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Date: Fri, Aug 7, 2020 at 12:09 PM
    Subject: Cook County Jail
    To: Jane Gubser <jane.gubser@cookcountyil.gov>, Ronald Howard <ronald.howard@cookcountyil.gov>
    Cc: Daniel Jean <daniel_jean716@yahoo.com>, Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>, Dr. Karen Witherspoon
    <doctorwitherspoon@gmail.com>


    [Quoted text hidden]
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Thu, Sep 10, 2020 at 7:42 PM
  To: "Dr. Hattie Wash" <Washhattie@gmail.com>

    FYI

    ---------- Forwarded message ---------
    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Date: Thu, Sep 10, 2020 at 7:30 PM
    Subject: Fwd: Cook County Jail
    [Quoted text hidden]
    [Quoted text hidden]
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1173388526587646243&simpl=msg-a%3Ar688684582… 3/3
10/17/2020   Case: 1:22-cv-03861 Document #: 11-26
                                               Gmail -Filed: 11/14/22
                                                       Cook County          Page 27 of 74 PageID #:483
                                                                   Jail Re-opening



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Cook County Jail Re-opening
  18 messages

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                        Thu, Aug 27, 2020 at 7:48 PM
  To: Jane Gubser <jane.gubser@cookcountyil.gov>, Ronald Howard <ronald.howard@cookcountyil.gov>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Good evening. I hope this message finds you guys in good health. This is a follow-up message. Have you guys decided
    on a reopening date? Have there been any developments toward the thought of teleconferencing? Have you decided how
    recruitment will take place? What Division will the participants be recruited? Thanks.
    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395


  Ronald Howard (Sheriff) <Ronald.Howard@cookcountyil.gov>                                             Wed, Sep 2, 2020 at 9:59 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>
  Cc: "Jane Gubser (Sheriff)" <Jane.Gubser@cookcountyil.gov>

    Hi Dr. Nance,

    Thank you for your outreach communication. I plan to give you this afternoon at 2pm to answer any
    outstanding questions or concerns but in the immediate I can answer your initial questions. My responses are
    in red.

    Have you guys decided on a reopening date?
    This date has not been ﬁnalized, but internal conversation was held to resume EMAGES programming in
    September 2020 (after Labor Day holiday).

    Have there been any developments toward the thought of teleconferencing?
    Internal conversations are ongoing but technology needs are still being considered at this time.

    Have you decided how recruitment will take place?
    CCDOC will continue the same strategy for EMAGES program recruitment, which include list generation
    through our research department paired with in-person interviewing. Please note, all participants must be
    housed on the same living unit inside the division and co-mixing (diﬀerent tiered detainees) is permitted.

    What Division will the participants be recruited?
    No changes, same as pre-covid. The program will be housed in Division 6 and take place during the 3p - 11p
    shift.

    Thanks.

    Ronald Howard
    Director of Vocational, Educational, and Restorative Programs
    CCDOC Programs Department
    773-674-4916 (oﬃce)
    312-919-0192 (cell)
    Ronald.howard@cookcountyil.gov


https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1294741536679310322&simpl=msg-a%3Ar2881531… 1/117
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                Gmail -Filed: 11/14/22
                                                        Cook County          Page 28 of 74 PageID #:484
                                                                    Jail Re-opening




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Thursday, August 27, 2020 7:48 PM
    To: Jane Gubser (Sheriﬀ) <Jane.Gubser@cookcountyil.gov>; Ronald Howard (Sheriﬀ)
    <Ronald.Howard@cookcountyil.gov>
    Cc: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Subject: Cook County Jail Re-opening



                                                 External Message Disclaimer
       This message originated from an external source. Please use proper judgment and caution when
                       opening attachments, clicking links, or responding to this email.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                       Wed, Sep 2, 2020 at 10:53 AM
  To: "Ronald Howard (Sheriff)" <Ronald.Howard@cookcountyil.gov>

    Thank you.
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                             Wed, Sep 2, 2020 at 11:03 AM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>, Andre Bethea <andre.bethea@usdoj.gov>, "Dever, Michael (OJP)"
  <Michael.Dever@usdoj.gov>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Mr. Williams: As promised during our monthly meeting on September 1, 2020, I would keep you apprised on our pre-
    release component of the grant. I received this message from the Cook County jail this morning. I will not attempt to send
    this message to Dr. Wash as she is not responding to any of my emails to her; as she did not attend our monthly meeting
    on September 1, 2020.

    For your information, I created the linkage agreements we have with this grant. This is my network. I have spent 20 years
    creating my network and collaborations. They respect me, my integrity, and my dedication for assisting the socially
    disadvantaged and disenfranchised. I do not let personal issues get in the way of my duty to service, specifically, towards
    reentry and the returning citizen. This is part of my mission statement. See www.clickservices.org
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                       Wed, Sep 2, 2020 at 11:18 AM
  To: "Dr. Fred Nance Jr." <frednance@clickservices.org>


    FYI
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                                Wed, Sep 2, 2020 at 11:27 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Thank you for this update.




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Wednesday, September 2, 2020 12:04 PM

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1294741536679310322&simpl=msg-a%3Ar2881531… 2/117
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                Gmail -Filed: 11/14/22
                                                        Cook County          Page 29 of 74 PageID #:485
                                                                    Jail Re-opening

    To: Williams, Joseph <jwilliams@air.org>
    Cc: Willis, Tracey (OJP) <Tracey.Willis@usdoj.gov>; Andre Bethea <andre.bethea@usdoj.gov>; Dever, Michael (OJP)
    <Michael.Dever@usdoj.gov>; Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Subject: Fwd: Cook County Jail Re-opening



    External email alert: Be wary of links & attachments.

    [Quoted text hidden]



  Ronald Howard (Sheriff) <Ronald.Howard@cookcountyil.gov>                                             Wed, Sep 2, 2020 at 1:44 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>
  Cc: "Jane Gubser (Sheriff)" <Jane.Gubser@cookcountyil.gov>


    Apologies for any confusion but that should read like the following:



    Have you decided how recruitment will take place?

    CCDOC will continue the same strategy for EMAGES program recruitment, which include list generation through our
    research department paired with in-person interviewing. Please note, all participants must be housed on the same living
    unit inside the division and co-mixing (diﬀerent tiered detainees) is NOT permitted.



    Ronald Howard

    Director of Inmate Programs

    CCDOC Programs Department

    773-674-4916 (oﬃce)

    312-919-0192 (cell)

    Ronald.howard@cookcountyil.gov




    From: Ronald Howard (Sheriff) <Ronald.Howard@cookcountyil.gov>
    Sent: Wednesday, September 2, 2020 10:00 AM
    To: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Cc: Jane Gubser (Sheriff) <Jane.Gubser@cookcountyil.gov>
    Subject: Re: Cook County Jail Re-opening



    Hi Dr. Nance,

    [Quoted text hidden]
    [Quoted text hidden]



  Ronald Howard (Sheriff) <Ronald.Howard@cookcountyil.gov>                                             Wed, Sep 2, 2020 at 2:29 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1294741536679310322&simpl=msg-a%3Ar2881531… 3/117
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                Gmail -Filed: 11/14/22
                                                        Cook County          Page 30 of 74 PageID #:486
                                                                    Jail Re-opening

    Dr. Nance,

    Thank you for your time by phone. Conﬁrming, we are targeting Friday, September 18th from 4p - 5p to re-
    launch the EMAGES program. At this time, we will be targeting participants from either living unit 2A or 2D
    in Division 6.

    To Do List
    -Please provide a complete list of EMAGES staﬀ they may facilitate programming at the Cook County Jail.
    -Provide an active state ID or driver's license for DOC Credentials review and divisional access.

    If anything changes, I will give you a call in advance. Thank you!

    Ronald Howard
    Director of Vocational, Educational, and Restorative Programs
    CCDOC Programs Department
    773-674-4916 (oﬃce)
    312-919-0192 (cell)
    Ronald.howard@cookcountyil.gov




    From: Ronald Howard (Sheriﬀ)
    Sent: Wednesday, September 2, 2020 1:44 PM
    To: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Cc: Jane Gubser (Sheriﬀ) <Jane.Gubser@cookcountyil.gov>
    Subject: RE: Cook County Jail Re-opening

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                             Wed, Sep 2, 2020 at 3:06 PM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>, Andre Bethea <andre.bethea@usdoj.gov>, "Dever, Michael (OJP)"
  <Michael.Dever@usdoj.gov>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Mr. Williams:

    In keeping you apprised: Our pre-release partners, Cook County Department of Corrections (CCDOC), will open for our
    population on September 18, 2020 from 4:00 pm to 5:00 pm. Please review the message below from CCDOC. I am
    contacting our Clinical Supervisor, Daniel Jean, to apprise him of this opening so he and I can prepare the pre-mentoring
    staff for the re-launching of our program.
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Wed, Sep 2, 2020 at 3:58 PM
  To: "Ronald Howard (Sheriff)" <Ronald.Howard@cookcountyil.gov>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Sheriff Howard: Alicia Perry & Serita Robinson will be the staff administering our program in the Cook County jail. Alicia
    and Serita have completed your application process. I will send their current state ID or Driver's license ASAP. Daniel and
    I need to take our pictures again. Our ID badges expired on August 31, 2020. Thank you.
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Thu, Sep 10, 2020 at 7:37 PM
  To: "Dr. Hattie Wash" <Washhattie@gmail.com>

    [Quoted text hidden]


https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1294741536679310322&simpl=msg-a%3Ar2881531… 4/117
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                Gmail -Filed: 11/14/22
                                                        Cook County          Page 31 of 74 PageID #:487
                                                                    Jail Re-opening

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                        Thu, Sep 10, 2020 at 7:40 PM
  To: "Dr. Hattie Wash" <Washhattie@gmail.com>

    FYI
    [Quoted text hidden]



  Ronald Howard (Sheriff) <Ronald.Howard@cookcountyil.gov>                                             Fri, Sep 18, 2020 at 10:25 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>
  Cc: "Dr. Hattie Wash" <washhattie@gmail.com>


    Good morning Dr. Nance,



    I appreciate your time by phone this week and your patience, as CCDOC continues to take strides forward on program re-
    engagement. As discussed, I would like to hold oﬀ on restarting EMAGES programming on today. I want to review
    additional security divisions to determine the best ﬁt, based on your participant criteria and place less strain on security
    staﬀ throughout division 6.



    I will certainly be in touch and available by phone regarding next steps. I’m anticipating a program restart on Friday,
    October 2nd (location – TBD).



    Please do not hesitate to contact me as needed. Thank you for your continued advocacy.



    Ronald Howard

    Director of Inmate Programs

    CCDOC Programs Department

    773-674-4916 (oﬃce)

    312-919-0192 (cell)

    Ronald.howard@cookcountyil.gov




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Wednesday, September 2, 2020 3:59 PM
    To: Ronald Howard (Sheriff) <Ronald.Howard@cookcountyil.gov>
    Cc: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Subject: Re: Cook County Jail Re-opening




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1294741536679310322&simpl=msg-a%3Ar2881531… 5/117
10/17/2020    Case: 1:22-cv-03861 Document #: 11-26
                                                Gmail -Filed: 11/14/22
                                                        Cook County          Page 32 of 74 PageID #:488
                                                                    Jail Re-opening

                                        External Message Disclaimer
       [Quoted text hidden]


    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                           Fri, Sep 18, 2020 at 10:30 AM
  To: "Andre.Bethea@usdoj.gov" <Andre.Bethea@usdoj.gov>, "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>, "Williams,
  Joseph" <jwilliams@air.org>, "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>

    Mr. Williams: Good morning. This is an update for our pre-release requirement.
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                         Fri, Sep 18, 2020 at 1:00 PM
  To: "Ronald Howard (Sheriff)" <Ronald.Howard@cookcountyil.gov>

    Thank you for your email
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                               Mon, Sep 21, 2020 at 11:58 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Thank you for this update. I hope things will open up for you soon.




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Friday, September 18, 2020 11:30 AM
    To: Andre.Bethea@usdoj.gov; Dever, Michael (OJP) <Michael.Dever@usdoj.gov>; Williams, Joseph <jwilliams@air.org>;
    Willis, Tracey (OJP) <Tracey.Willis@usdoj.gov>
    Subject: Fwd: Cook County Jail Re-opening



    External email alert: Be wary of links & attachments.

    Mr. Williams: Good morning. This is an update for our pre-release requirement.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                      Mon, Sep 21, 2020 at 12:57 PM
  To: "Williams, Joseph" <jwilliams@air.org>

    Are you on this chat session?
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                                Mon, Sep 21, 2020 at 1:30 PM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    Yes

    Joseph Williams
    Senior Consultant
    American Institutes for Research
    Email: jwilliams@air.org
    Office: 202-403-6924
    Mobile: 313-505-3577
https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1294741536679310322&simpl=msg-a%3Ar2881531… 6/117
10/17/2020   Case: 1:22-cv-03861 Document #: 11-26
                                               Gmail -Filed: 11/14/22
                                                       Cook County          Page 33 of 74 PageID #:489
                                                                   Jail Re-opening


    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Monday, September 21, 2020 1:57 PM
    To: Williams, Joseph <jwilliams@air.org>
    Subject: Re: Cook County Jail Re-opening

    External email alert: Be wary of links & attachments.

    Are you on this chat session?

    On Mon, Sep 21, 2020 at 11:59 AM Williams, Joseph <jwilliams@air.org> wrote:




      Thank you for this update. I hope things will open up for you soon.




      From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>


      Sent: Friday, September 18, 2020 11:30 AM


      To: Andre.Bethea@usdoj.gov; Dever, Michael (OJP) <Michael.Dever@usdoj.gov>; Williams, Joseph
      <jwilliams@air.org>; Willis, Tracey (OJP) <Tracey.Willis@usdoj.gov>


      Subject: Fwd: Cook County Jail Re-opening




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-1294741536679310322&simpl=msg-a%3Ar2881531… 7/117
10/17/2020    Case: 1:22-cv-03861 DocumentGmail
                                           #: 11-26     Filed: 11/14/22
                                                - Fwd: Whistleblower ComplaintsPage   34 of 74 PageID #:490
                                                                               and Retaliation



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Fwd: Whistleblower Complaints and Retaliation
  1 message

  Fred Nance Jr. <frednance@clickservices.org>                                                        Tue, Sep 29, 2020 at 10:14 AM
  To: "Dr. Fred Nance Jr" <drfred.nancejr@gmail.com>



    Sent from my iPhone
    Dr. Fred L Nance Jr
    PhD Human Services
    Social Policy Analysis
    708-921-1395
    www.clickservices.org

    Begin forwarded message:


             From: "Dr. Fred L Nance Jr., Ph.D." <frednance@clickservices.org>
             Date: September 28, 2020 at 11:45:00 PM CDT
             To: "info@osc.gov" <info@osc.gov>
             Cc: "Fred Nance Jr." <frednance@clickservices.org>
             Subject: Whistleblower Complaints and Retaliation
             Reply-To: "Dr. Fred L Nance Jr., Ph.D." <frednance@clickservices.org>




             To Whom it May Concern:

             I, Dr. Fred L Nance Jr., am the author of this complaint. I went on the U.S. Office of
             Special Counsel website seeking to file a complaint pursuant to an email I received on
             September 28, 2020, which is attached. I could not access your form because I do not
             have Adobe Reader for a PDF program. My PDF program Nitro Pro, which your system
             does not recognize.

             I filed 3 Whistleblower complaints pursuant to the National Defense Authorization Act of
             2013, which governs Grant #2018-CY-BX-0025. An NDAA reprisal claim must be filed
             initially with the Office of Inspector General of the agency that awarded the contract or
             grant about which the employee disclosed wrongdoing. (10 U.S.C. Section 2409(b)(1);
             41 U.S.C. Section 4712(b)(1)). As you will see in my attachment I filed a complaint on
             September 13, 2020 with the OIG. Why would I receive the email attached reporting I
             need to report my retaliation issues with OSC?

             Regarding Federal litigation: A whistleblower may file a lawsuit in Federal District Court
             against the federal contractor if the whistleblower is denied relief after complaining to
             the OIG or has not obtained relief within 210 days of fling the complaint with the OIG.
             (10 U.S.C. Section 2409(c)(2); 41 U.S.C. Section 4712(c)(2)). The whistleblower must
             file the lawsuit within two years after exhausting the administrative remedies before the
             OIG and is entitled to a de novo jury trial (10 U.S.C. Section 2409(c)(2); 41 U.S.C.
             Section 4712(c)(2)). I also have the option to proceed with additional claims under
             provisions of FCA. My employment was not protected from retaliation by DOJ, BJA,
             OJP and EMAGES, Inc., which is a requirement of the Whistleblower Act of 2013.

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1679181710943353510&simpl=msg-f%3A16791817109…   1/2
10/17/2020    Case: 1:22-cv-03861 DocumentGmail #: 11-26   Filed: 11/14/22
                                                   - Fwd: Whistleblower ComplaintsPage   35 of 74 PageID #:491
                                                                                  and Retaliation

             Attached is an email I received from OJP on September 28, 2020; a 21-page document
             comprised of my 3 Whistleblower Complaints and email responses to other DOJ BJA
             OJP staff supervising Grant #2018-CY-BX-0025. The 3 Whistleblower complaints are
             dated: April 17, 2020; August 29, 2020; and September 13, 2020. If our grant manager,
             Tracey Willis, had done her job and addressed the April 17, 2020 complaint, I would not
             be in the place I am in today and Grant #2018-CY-BX-0025 would not be canceled on
             September 30, 2020. The grant period is for 2018-2021.

             Please let me know if I have contacted the correct agency. I am being sent in circular
             motions attempting to address and exhaust my administrative remedies before
             proceeding to Federal Court. I do not want to go to Federal Court, but I will if I cannot
             get someone from DOJ BJA OJP to adhere to the Whistleblower Act. I will not be the
             victim for reporting waste, abuse, and fraud. Thank you.

             /s/Dr. Fred Nance Jr.
             Ph.D. Health & Human Services
             Social Policy Analysis and Planning
             www.clickservices.org
             708-921-1395

             NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail
             message, and any and all attachments transmitted with it are intended solely for the
             use of the addressee and may contain legally privileged and confidential information. If
             the reader of this message is not the intended recipient, or an employee or agent
             responsible for delivering this email message to the intended recipient, you are hereby
             notified that any dissemination, distribution, copying, or other use of the message or its
             attachments is strictly prohibited. If you have received this email message and its
             attachments if any, in error, please notify the sender immediately by replying to the
             message and please delete it from your computer. Thank you.




     2 attachments
         9.28.20 Whistleblower Complaint and Retaliation Email from Laura Colon-Marrero.pdf
         174K
         9.25.20 DOJ BJA OJP Grant #2018-CY-BX-0025 Whistleblower Complaint Revised.pdf
         2372K




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1679181710943353510&simpl=msg-f%3A16791817109…   2/2
10/17/2020   Case: 1:22-cv-03861
                             Gmail Document
                                   - Suspension of #:
                                                   the 11-26    Filed:
                                                       sex offender      11/14/22
                                                                    groups            Page
                                                                           and termination of the36 of 74
                                                                                                  Second   PageID
                                                                                                         Change        #:492
                                                                                                                Act grant



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Suspension of the sex offender groups and termination of the Second Change Act
  grant
  12 messages

  Hattie Wash <washhattie@gmail.com>                                                          Mon, Sep 21, 2020 at 7:27 PM
  To: Gerri Taylor <tgerri99@yahoo.com>, mitzi scott <mitziscott10@yahoo.com>, curtis slate <curtiscurtis47@aol.com>, Sheila
  Chew <sacpoiple1@gmail.com>, shudson305@hotmail.com, Jean Daniel <Daniel_Jean716@yahoo.com>, marcie collins
  <marcie_93@yahoo.com>, Chad Ellis <seragi73@yahoo.com>, Eleanor Harris <eleanorharris98@yahoo.com>, Edward
  Butler <dr_ebutler@yahoo.com>, Jamie Enge <jamiee425@gmail.com>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>,
  valerie minor <vminor2018@gmail.com>, LORI ORTIZ <loriortiz6199@comcast.net>, pebsluvsgod@yahoo.com,
  earlene416@gmail.com, srobin21@csu.edu, "Dr. Karen Witherspoon" <doctorwitherspoon@gmail.com>, THOMAS
  BRADLEY <tbacpa52@yahoo.com>, trentonfedrick@yahoo.com, johnson_l@comcast.net

    The Covid-19 Pandemic,the Shelter in Place Mandate by the State of Illinois, less than 15% of sex offender clients paying
    their fees as well as EMAGES not receiving a payment from the FY21 State budget which began July, 2020 has created
    an economic hardship and cash flow problem for EMAGES.

    Given the above Effective October 1, 2020 EMAGES is suspending our sex offender groups and returning the Second
    Chance Act grant back to the Office of Justice Programs. Additionally, Staff in the substance abuse programs work week
    will be reduced from a five day work week to a four day week. If funding is not received before October 1, 2020, I will not
    be able to meet EMAGES October 1, 2020 payroll for the substance abuse program and the sex offender group
    facilitators.

    I have scheduled a ZOOM meeting for Thursday September 24, 2020 at 7:00 p.m. to discuss the above changes and
    address any concerns you may have. Please let me know if you are unable to attend the meeting.

    You will receive a ZOOM login number tomorrow.
    Dr. Wash


  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                 Mon, Sep 21, 2020 at 8:54 PM
  To: "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>, Andre Bethea <andre.bethea@usdoj.gov>, "Willis, Tracey (OJP)"
  <Tracey.Willis@usdoj.gov>, "Williams, Joseph" <jwilliams@air.org>, Ronald Howard <ronald.howard@cookcountyil.gov>,
  Jane Gubser <jane.gubser@cookcountyil.gov>, Patricia Grosskopf <patricia.grosskopf@illinois.gov>, "Sarah.Brown-
  Foiles@Illinois.gov" <Sarah.Brown-Foiles@illinois.gov>, "Dixon, Dion" <dion.dixon@illinois.gov>,
  Josie.Ware@mail.house.gov, Tumia.Romero@mail.house.gov
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance Jr." <frednance@clickservices.org>

    On September 21, 2020, I received the email above and below from Dr. Hattie Wash dissolving the Second Chance Act
    grant #2018-CY-BX-0025. As Dr. Wash and I talked about her giving up the program, after I discovered her
    misappropriation of funds or fraud and talked to her about it, Dr. Wash told me since I was going to report this to DOJ,
    BJA, OJP I could take the program. I sent the email, with this statement from Dr. Wash, to DOJ, BJA, OJP's Mr. Dever,
    Mr. Bethea, and Ms. Willis. Therefore, I am requesting C.L.I.C.K. Services, NFP become responsible for the grant to its
    end on September 30, 2021.

    There should be no barriers or reasons why I cannot take over the grant. Dr. Wash and I wrote the proposal. I am the
    Program Director. I created all of our collaborative partners for this grant. Dr. Wash and I created and developed the
    curricula for this program. I know every part of this program. I partnered with Dr. Wash on this grant. Dr. Wash and I
    decided she would be the fiduciary and I would handle the day-to-day operation as the Program Director. It was my
    understanding we were equal partners. Dr. Wash just handled the flow of money for the grant. Read our SCA abstract
    and proposal for this grant, which is attached.

    As reported in our abstract and proposal (pp. 17-18) (attached), EMAGES, Inc & C.L.I.C.K. Services, NFP collaborated
    and partnered for this grant. I am more than capable of finishing out this grant. This move by Dr. Wash is retaliatory in
    nature toward me for filing the 3 Whistleblower complaints with the Department of Justice, Bureau of Justice Assistance,
    Office of Justice Programs, and the U.S. Office of Inspector General for misappropriation of funds or fraud. As I have
    stated in my Whistleblower complaints, my employment is protected by the Whistleblower Act. My Whistleblower
    complaints are attached.

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1678491767046200416&simpl=msg-f%3A16784917670…   1/6
10/17/2020    Case: 1:22-cv-03861
                              Gmail Document
                                    - Suspension of #:
                                                    the 11-26    Filed:
                                                        sex offender      11/14/22
                                                                     groups            Page
                                                                            and termination of the37 of 74
                                                                                                   Second   PageID
                                                                                                          Change        #:493
                                                                                                                 Act grant


    Dr. Wash's dilemma with her funding from the State of Illinois is not the first time this has happened to EMAGES.
    EMAGES has closed programs before because of Illinois State funding. There is no reason this grant cannot continue to
    move forward under the direction of C.L.I.C.K. Services, NFP (www.clickservices.org). Grant #2018-CY-BX-0025 is
    funded. I can still work with the Illinois Department of Corrections (post-release prison) and the Cook County Department
    of Corrections (pre-release jail).I am in the process of creating and developing a 90-day transitional house for sex
    offenders. I can run the grant from this project. The housing program is being created under C.L.I.C.K. Housing, Inc. My
    'brief' housing project proposal is attached. I created this proposal for Illinois and Chicago legislators seeking support for
    my housing project. Congressman Davis has given me a Letter of Support for my housing project, which is attached. I can
    provide more details in line with a regular SCA proposal for how the program will work if necessary.

    The reasoning Dr. Wash uses for giving the grant back is ludicrous. Grant #2018-CY-BX-0025 is funded and is not
    affected by the lack of Illinois State funding Dr. Wash alludes too. The grant funding covers participant cost because there
    is no participant cost. The grant covers contractual fees for all mentors and staff of the grant, which is listed in the grant
    budget. Our budget takes care of office space and other ancillary functions and needs. Dr. Wash is lumping the grant
    program in with her State dilemma to retaliate against me for filing my Whistleblower complaints. The only reason Dr.
    Wash is giving the program back to OJP is to hurt me for filing the 3 Whistleblower complaints.

    WHEREFORE, I am requesting a teleconference audience with Mr. Michael Dever, BJA Division Chief; Mr. Andre Bethea,
    BJA Senior Policy Advisor; and Ms. Tracey Willis, OJP Grant Manager; or in the alternative, a transfer of responsibility for
    Grant #2018-CY-BX-0025. Please respond. Thank you.

    Respectfully submitted
    [Quoted text hidden]
    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395

     7 attachments
          SCA Abstract.pdf
          9K
          SCA Proposal.pdf
          94K
          8.31.20 90 Day Transitional Housing Proposal.pdf
          129K
          4.17.20 1st Whistleblower Complaint.pdf
          1029K
          8.29.20 2nd Whistleblower Complaint.pdf
          99K
          9.13.20 3rd Whistleblower Complaint.pdf
          122K
          1.24.20 Congressman Davis Letter of Support for Transitional Housing.pdf
          77K


  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                 Mon, Sep 21, 2020 at 9:26 PM
  To: "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>, Andre Bethea <andre.bethea@usdoj.gov>, "Willis, Tracey (OJP)"
  <Tracey.Willis@usdoj.gov>, "Williams, Joseph" <jwilliams@air.org>, Ronald Howard <ronald.howard@cookcountyil.gov>,
  Jane Gubser <jane.gubser@cookcountyil.gov>, Patricia Grosskopf <patricia.grosskopf@illinois.gov>, "Sarah.Brown-
  Foiles@Illinois.gov" <Sarah.Brown-Foiles@illinois.gov>, "Dixon, Dion" <dion.dixon@illinois.gov>,
  Josie.Ware@mail.house.gov, Tumia.Romero@mail.house.gov
  Cc: "Dr. Fred Nance Jr." <frednance@clickservices.org>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

    I forgot to include there has been a total of 111 participants enrolled in the SCA MA`AT program. Since Covid-19, there
    are 59 participants calling in for service, utilizing the teleconferencing model. We lost 13 participants due to the
    Coronavirus closing of the jail and the Special Needs Unit of the Illinois Department of Corrections. Before the
    Coronavirus dilemma occured, we had approximately 79 participants enrolled in the program. The grant project was
    working well during the Coronavirus. Dr. Wash does not provide any reasoning in her email to justify giving the grant
https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1678491767046200416&simpl=msg-f%3A16784917670…   2/6
10/17/2020    Case: 1:22-cv-03861
                              Gmail Document
                                    - Suspension of #:
                                                    the 11-26    Filed:
                                                        sex offender      11/14/22
                                                                     groups            Page
                                                                            and termination of the38 of 74
                                                                                                   Second   PageID
                                                                                                          Change        #:494
                                                                                                                 Act grant

    back. Just because she cannot afford to keep EMAGES open, there is no reason to shut down the SCA grant. Our grant
    participants are teleconferencing. The participants do not have fees. Mentors and participants, for the most part, are
    calling in from home for services. Again, Dr. Wash is giving the grant back and closing down this grant retaliating against
    me for filing my Whistleblower complaints.

    Mr. Dever, Mr. Bethea, & Ms. Willis: How are you protecting my job? How are you protecting me from
    retaliation? Pursuant to the National Defense Authorization Act of 2013 (NDAA), which includes a
    provision that makes it illegal for an employee of a Federal contractor, subcontractor, or grantee to be
    discharged, demoted, or otherwise discriminated against for making a protected whistleblower disclosure.
    Under NDAA, the DOJ Office of Inspector General has jurisdiction to investigate allegations of reprisal for
    whistleblowing by employees of DOJ contractors, subcontractors, and award recipients.

    You should give the grant to me. We can talk about the logistics for the transfer of grant to C.L.I.C.K.
    Services, NFP. I hope to hear from you soon as Dr. Wash has set a date of October 1, 2020 to shut down
    the program. Thank you.
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                                  Tue, Sep 22, 2020 at 9:49 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>


    Thank you for this further update.




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Monday, September 21, 2020 10:27 PM
    To: Dever, Michael (OJP) <Michael.Dever@usdoj.gov>; Andre Bethea <andre.bethea@usdoj.gov>; Willis, Tracey (OJP)
    <Tracey.Willis@usdoj.gov>; Williams, Joseph <jwilliams@air.org>; Ronald Howard <ronald.howard@cookcountyil.gov>;
    Jane Gubser <jane.gubser@cookcountyil.gov>; Patricia Grosskopf <patricia.grosskopf@illinois.gov>; Sarah.Brown-
    Foiles@Illinois.gov; Dixon, Dion <dion.dixon@illinois.gov>; Josie.Ware@mail.house.gov;
    Tumia.Romero@mail.house.gov
    Cc: Dr. Fred Nance Jr. <frednance@clickservices.org>; Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Subject: Re: Suspension of the sex offender groups and termination of the Second Change Act grant



    External email alert: Be wary of links & attachments.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                              Tue, Sep 22, 2020 at 10:19 AM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance Jr." <frednance@clickservices.org>

    Good morning. I am hoping Mr. Dever does the right thing by saving my job and allowing me to take over the grant. I am
    not sure of how this process works. Nevertheless, I am hoping I do not have to go to the Federal court for relief. There is
    overwhelming evidence my job is supposed to be protected and retaliation is forbidden under the Whistleblower Act.

    Dr. Wash gave no reasoning in her email for giving the grant back to OJP. Our mentors and participants are working via
    teleconferencing and our funding pays for all services. Dr. Wash is giving the grant back retaliating against me for filing
    Whistleblower complaints. I have written language from Dr. Wash supporting my allegation of retaliation. Let’s see if OJP
    does the right thing.

    I am the victim here for doing the right thing. Now, I am being punished by DOJ, BJA, OJP for reporting fraud, waste, and
    other criteria described in the Whistleblower Act of 2013. This is crazy.
    [Quoted text hidden]



  Williams, Joseph <jwilliams@air.org>                                                                Tue, Sep 22, 2020 at 10:54 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1678491767046200416&simpl=msg-f%3A16784917670…   3/6
10/17/2020    Case: 1:22-cv-03861
                              Gmail Document
                                    - Suspension of #:
                                                    the 11-26    Filed:
                                                        sex offender      11/14/22
                                                                     groups            Page
                                                                            and termination of the39 of 74
                                                                                                   Second   PageID
                                                                                                          Change        #:495
                                                                                                                 Act grant


    Good morning. I have no idea how something like this can work. I hope things work out for you.

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                       Tue, Sep 22, 2020 at 10:55 AM
  To: "Williams, Joseph" <jwilliams@air.org>

    Thanks. I posted this on my Twitter page:

    @OJPgov Dr. Nance filed Whistleblower complaints with the #DOJ, #BJA, #OJP and the #OIG pursuant to
    The National Defense Authorization Act of 2013 and 41 U.S.C. Section 4712 for Misappropriation of Funds
    and/or Fraud; Retaliation. #DOJ protect my job.
    https://drive.google.com/file/d/19jBej-0fgPeooGfYFQdAONhdok5jT9Tt/view
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                              Tue, Sep 22, 2020 at 11:53 AM
  To: "Williams, Joseph" <jwilliams@air.org>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance Jr." <frednance@clickservices.org>

    I forgot to tell you. After Dr. Wash sent her email, I talked to a mentor who told me during a case management meeting a
    participant told her Dr. Wash was sending them to a polygrapher who was intentionally giving positive test results for
    polygraph test. This participant went to another polygrapher, got a negative polygraph test, and received a discharge
    letter from Dr. Wash after he was highly reprimanded for going to an outside polygrapher.

    This participant reports his parole officer received a copy of the EMAGES discharge letter and is processing his discharge
    from parole. This participant told the mentor his parole officer said he did not have to attend any more meetings at
    EMAGES. The mentor said she asked Dr. Wash about the EMAGES discharge letter and got conflicting messages from
    Dr. Wash and her sister, Gerri. This mentor said Gerri reports this participant owes money, to which the participant is
    being charged for sessions even though he has been discharged from EMAGES. When the participant was made aware
    of owing money for sessions he did not have to attend, he asked the mentor where was the money going. This mentor
    told me she has heard similar stories from other participants regarding the positive polygraph issues.
    [Quoted text hidden]



  Dever, Michael (OJP) <Michael.Dever@usdoj.gov>                                            Thu, Sep 24, 2020 at 9:20 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>
  Cc: "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>, "Bethea, Andre (OJP)" <Andre.Bethea@usdoj.gov>, Hattie Wash
  <washhattie@gmail.com>


    Good Morning Dr. Nance,



    BJA made the award 2018-CY-BX-0025 to EMAGES, Inc. Although the applica on describes a partnership between
    EMAGES and C.L.I.C.K. Services, you served as an employee of EMAGES, Inc. with no sub-award or partner
    rela onship with C.L.I.C.K. Services. EMAGES, Inc. has chosen to terminate the award per Dr. Ha e Wash’s le er
    outlining the reasons, and BJA will work with EMAGES to close out the award. BJA will conduct an in-depth ﬁnancial
    and programma c review of the award ac vi es between Oct. and Dec. to ensure funds were administered properly,
    or iden fy issues requiring resolu on.



    If C.L.I.C.K. Services would like to apply for a Second Chance Act Community-Based Program grant as a direct recipient
    or through a partnership with another organiza on to con nue serving the community in FY 2021, please know that
    we will be announcing the Second Chance Act Solicita ons this Fall.




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1678491767046200416&simpl=msg-f%3A16784917670…   4/6
10/17/2020    Case: 1:22-cv-03861
                              Gmail Document
                                    - Suspension of #:
                                                    the 11-26    Filed:
                                                        sex offender      11/14/22
                                                                     groups            Page
                                                                            and termination of the40 of 74
                                                                                                   Second   PageID
                                                                                                          Change        #:496
                                                                                                                 Act grant

    Thank you!



    Michael Dever




    From: Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>
    Sent: Monday, September 21, 2020 10:27 PM
    [Quoted text hidden]

    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                             Thu, Sep 24, 2020 at 10:26 AM
  To: "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>
  Cc: "Bethea, Andre (OJP)" <Andre.Bethea@usdoj.gov>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance
  Jr." <frednance@clickservices.org>, Hattie Wash <washhattie@gmail.com>, "Willis, Tracey (OJP)"
  <Tracey.Willis@usdoj.gov>

    Good morning. Thank you for your explanation. You have not addressed how you or BJA are protecting my Whistleblower
    protections, specifically my employment, retaliation, and emotional distress put upon me by EMAGES, specifically Dr.
    Wash, and DOJ BJA OJP. Therefore, you leave with few choices. I am going to address the issues of the whistleblower
    act in federal court. I will file in October 2020. I will sue all parties involved in their individual and professional capacity. I
    have posted the whistleblower complaints on Twitter and Facebook, as I exercise my 1st amendment rights. I will post my
    Federal complaint on social media once I have filed it. You have been noticed and all administrative remedies have been
    exhausted. Have a blessed day.
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                            Thu, Sep 24, 2020 at 11:39 AM
  To: "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>
  Cc: "Bethea, Andre (OJP)" <Andre.Bethea@usdoj.gov>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance
  Jr." <frednance@clickservices.org>, Hattie Wash <washhattie@gmail.com>, Thomas Bradley <tbacpa52@yahoo.com>,
  "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>

    Addendum to my previous response so I will have an additional legal document: I, Dr. Fred L. Nance Jr., am President &
    CEO of C.L.I.C.K. Services NFP. As stated in my previous documentation, I work for my company as the Abstract and
    Proposal dictate.

    From the onset of this grant, I requested payment for my Program Director services to C.L.I.C.K. via a 1099. Dr. Wash
    told me the budget was written for regular taxes to be taken out for the Program Director position and that she could not
    change the budget. Being a Peer Reviewer, I told her she could change the budget with a GAN. Dr. Wash refused to
    change it. I talked Mr. Bradley, the accountant, requesting a change. Mr. Bradley said he had to go along with Dr. Wash
    since she was the fiduciary.

    I will enjoin Mr. Thomas Bradley in my litigation as a defendant also.


    On Thu, Sep 24, 2020 at 9:20 AM Dever, Michael (OJP) <Michael.Dever@usdoj.gov> wrote:



      T
      [Quoted text hidden]
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                          Thu, Sep 24, 2020 at 6:49 PM
  To: "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1678491767046200416&simpl=msg-f%3A16784917670…      5/6
10/17/2020    Case: 1:22-cv-03861
                              Gmail Document
                                    - Suspension of #:
                                                    the 11-26    Filed:
                                                        sex offender      11/14/22
                                                                     groups            Page
                                                                            and termination of the41 of 74
                                                                                                   Second   PageID
                                                                                                          Change        #:497
                                                                                                                 Act grant
  Cc: "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>, "Bethea, Andre (OJP)" <Andre.Bethea@usdoj.gov>, Hattie Wash
  <washhattie@gmail.com>, "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance Jr."
  <frednance@clickservices.org>, Thomas Bradley <tbacpa52@yahoo.com>

    Good evening. Attached is my cover letter to the United States Attorney's Office in the Northern District of Illinois and the
    email chain between Dr. Wash and myself regarding transferring the grant to me. I sent this email chain to your staff,
    which you sent me an email stating you had my emails. Please review the email dated July 8, 2020 at 5:50 PM, reporting
    Dr. Wash acknowledging my partnership with her and the grant.

    On July 8, 2020 at 5:50 pm Dr. Wash states "...We collaborated on this project. As I said before EMAGES is the fiscal
    sponsor of this grant...At this point I am ready to give the program up,,,I am not involved in the day to day operations of
    any of the programs and neither should you as a program Director...." Dr. Wash should read the proposal. My job is the
    day-to-day operations of the program, no matter what job descriptions she produces.

    On July 8, 2020 at 6:06 pm I answered Dr. Wash stating "...I asked you to stop threatening me...You need to read our
    proposal...Give the program up if that is your position...Give the program up. I'll take it. I'll send an email to the grant
    manager and Mr. Bethea...." On July 8, 2020 at 7:07 pm Dr. Wash stated "Okay call and you can have the
    program...make it effective as soon as possible."

    Mr. Dever: You and your team threw my Whistleblower complaints out the window; taking all my protections away. All of
    you terminated my employment and retaliated against me for filing Whistleblower complaints. Emails are legal
    documents.

    On Thu, Sep 24, 2020 at 9:20 AM Dever, Michael (OJP) <Michael.Dever@usdoj.gov> wrote:
    [Quoted text hidden]
    [Quoted text hidden]


     2 attachments
          9.24.20 U.S. Attorney General for Northern District of Illinois Cover Letter.pdf
          58K
          7.6.20 Email Chain Dr. Wash and Dr. Nance re Grant Transfer to Dr. Nance.pdf
          1579K




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1678491767046200416&simpl=msg-f%3A16784917670…   6/6
10/17/2020   Case: 1:22-cv-03861 Document #:Gmail
                                             11-26     Filed:
                                                  - Grant      11/14/22 Termination
                                                          #2018-CY-BX-0025 Page 42 of 74 PageID #:498


                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Grant #2018-CY-BX-0025 Termination
  2 messages

  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                Fri, Sep 25, 2020 at 8:16 AM
  To: "Andre.Bethea@usdoj.gov" <Andre.Bethea@usdoj.gov>, "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>,
  "Josie.Ware@mail.house.gov" <Josie.Ware@mail.house.gov>, Thomas Bradley <tbacpa52@yahoo.com>,
  "Tumia.Romero@mail.house.gov" <Tumia.Romero@mail.house.gov>, "Williams, Joseph" <jwilliams@air.org>, "Willis, Tracey
  (OJP)" <Tracey.Willis@usdoj.gov>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance Jr." <frednance@clickservices.org>

    Good morning. EMAGES held a Zoom meeting for all staff on 9/24/20 reporting she was giving up the Second Chance
    Act and suspending her sex offender program due Covid-19. DOJ BJA OJP Mr. Michael Dever, Andre Bethea, and
    Tracey Willis are assisting Dr. Wash in closing out the grant.

    Dr. Wash gave no valid reasoning for shutting down the SCA grant. Dedicated mentors were upset because the SCA
    funding was fluid. The mentors are contractual paid positions. The SCA was operating via teleconferencing very well.
    75% of our participants have been on the teleconferencing call since March of 2020. The participants are buying into the
    curricula and the program overall. We had a plan to work thru the pandemic. Our OJP Technical Advisor, Mr. Joseph
    Williams, asked us if we had any problems with meeting our goals, we could revise our Implementation Plan as other
    grantees are doing. In August of 2020, Dr. Wash told Mr. Williams we did not need to revise our Implementation Plan
    because everything was working well. The only thing that changed with our SCA grant was my Whistleblower complaints
    against Dr. Wash for misappropriation of funds and fraud, which DOJ BJA OJP are violating my protections.

    Dr. Wash talked about suspending EMAGES sex offender program stating lack of funding. She talked about the State of
    Illinois had not paid her since July 2020. She emphasized how client fees were not being paid. She reminded staff
    EMAGES has gone thru this dilemma many times in the past; and that she was expecting payment later this year; and
    that she could not pay staff. She said she had enough money in her bank account to pay rent in October.

    EMAGES staff agreed to work without pay as they have done before during times when funding was not there;
    emphasizing since they were working from home via teleconferencing it was not a burden to them. Therefore, EMAGES
    is still open for business!!

    Wherefore, the real reason Dr. Wash is terminating the SCA Grant is retaliatory in nature. She is shutting the program
    down to hurt me, and DOJ BJA OJP is complicit in this nefarious act. I have provided more than enough evidence for my
    Whistleblower complaints. DOJ BJA OJP is supposed to protect my employment and me from any retaliation. Dr. Wash
    has fed DOJ BJA OJP a sob, false story about our dedicated, successful service delivery via teleconferencing during this
    Coronavirus.

    Since DOJ BJA OJP Representatives have taken my Whistleblower protections from me, I have no other alternatives but
    to pursue rightful litigation in Federal Court. I have posted, and will continue to post, on social media the nefarious actions
    taken against me because I tried to protect our grant and the integrity of the Second Chance Act, which the Honorable
    Congressman Danny K. Davis co-sponsored and President Bush signed in 2008. I had the extreme pleasure of working
    on Congressman Davis’ Advisory Committee for the Second Chance Act in 2007. I know this legislation and it was not
    created for such nefarious behavior as demonstrated here by Dr. Wash and DOJ BJA OJP Representatives.

    This is my posted message below. You will find in the link provided overwhelming evidence of misappropriation of funds
    and Fraud. You will see how I have exhausted all administrative remedies toward a peaceful solution. I was Dr. Wash’s
    partner in this grant, and had respectfully requested DOJ BJA OJP transfer the grant to my organization. DOJ BJA OJP
    Representative Mr. Dever offered me to apply for my own grant. This is how he is protecting my employment pursuant to
    the Whistleblower policies.

    @OJPgov @OJPgov COVID-19 had nothing to with EMAGES nefarious actions. Federal lawsuit Defendants: EMAGES,
    Inc., Hattie Wash, Thomas Bradley, Michael Devers, Andre Bethea, Tracey Willis, DOJ, BJA, OJP in their individual and
    official capacity.
    https://drive.google.com/file/d/1d75UW7ZOgsPjd8qtskq0BKn7jKh8zr1G/view
    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-4017600794236141606&simpl=msg-a%3Ar45194488…   1/2
10/17/2020    Case: 1:22-cv-03861 Document #:Gmail
                                              11-26     Filed:
                                                   - Grant      11/14/22 Termination
                                                           #2018-CY-BX-0025 Page 43 of 74 PageID #:499
    708-921-1395


  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                Fri, Sep 25, 2020 at 9:55 AM
  To: "Andre.Bethea@usdoj.gov" <Andre.Bethea@usdoj.gov>, "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>,
  "Josie.Ware@mail.house.gov" <Josie.Ware@mail.house.gov>, Thomas Bradley <tbacpa52@yahoo.com>,
  "Tumia.Romero@mail.house.gov" <Tumia.Romero@mail.house.gov>, "Williams, Joseph" <jwilliams@air.org>, "Willis, Tracey
  (OJP)" <Tracey.Willis@usdoj.gov>
  Cc: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Dr. Fred Nance Jr." <frednance@clickservices.org>

    I forgot to report when I brought this SCA solicitation to Dr. Wash in April of 2018, EMAGES was not getting paid for their
    sex offender program regularly by the State of Illinois. When we received the grant in October 2018, EMAGES was not
    receiving appropriate funding for their sex offender program. Now, EMAGES has proclaimed to DOJ BJA OJP they are
    not receiving their appropriate funding as a predicate to blame the Coronavirus for suspending their sex offender
    program. NEWS FLASH...EMAGES has not suspended their sex offender program because the current therapist said
    they would work for free and wait until Dr. Wash receives her funding from the State of Illinois. Grant #2018-CY-BX-0025
    is funded. Both programs are using teleconferencing to communicate with their clients/participants. This report will be part
    of my Statement of Facts in my litigation. During the Discovery phase of the litigation I will get the documents from
    EMAGES to support my claims.
    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-a%3Ar-4017600794236141606&simpl=msg-a%3Ar45194488…   2/2
10/17/2020   Case: 1:22-cv-03861 Document    #: 11-26
                                     Gmail - Fw:         Filed: 11/14/22
                                                 Grant #2018-CY-BX-0025      Page 44
                                                                        3 Whistleblower   of 74 PageID #:500
                                                                                        Complaints



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Fw: Grant #2018-CY-BX-0025 3 Whistleblower Complaints
  1 message

  Dr. Fred L Nance Jr., Ph.D. <frednance@clickservices.org>                                           Thu, Oct 15, 2020 at 10:29 AM
  Reply-To: "Dr. Fred L Nance Jr., Ph.D." <frednance@clickservices.org>
  To: "Dr. Fred Nance Jr" <drfred.nancejr@gmail.com>




    /s/Dr. Fred Nance Jr.
    Ph.D. Health & Human Services
    Social Policy Analysis and Planning
    www.clickservices.org
    708-921-1395

    NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message,
    and any and all attachments transmitted with it are intended solely for the use of the addressee
    and may contain legally privileged and confidential information. If the reader of this message is not
    the intended recipient, or an employee or agent responsible for delivering this email message to
    the intended recipient, you are hereby notified that any dissemination, distribution, copying, or
    other use of the message or its attachments is strictly prohibited. If you have received this email
    message and its attachments if any, in error, please notify the sender immediately by replying to
    the message and please delete it from your computer. Thank you.


    ----- Forwarded Message -----
    From: Dr. Fred L Nance Jr., Ph.D. <frednance@clickservices.org>
    To: Congressman Danny K. Davis <tumia@dannykdavis.com>; Tumia Romero <tumia.romero@mail.house.gov>; Josie
    Ware <josie.ware@mail.house.gov>
    Cc: Oig.oversight&review@usdoj.gov <oig.oversight&review@usdoj.gov>; Fred Nance Jr.
    <frednance@clickservices.org>; Dever, Michael (OJP) <michael.dever@usdoj.gov>; Bethea Andre (OJP)
    <andre.bethea@usdoj.gov>; Willis Tracey (OJP) <tracey.willis@usdoj.gov>; Joseph Williams <jwilliams@air.org>; Sarah
    Brown-Foiles <sarah.brown-foiles@illinois.gov>; Dion Dixon <dion.dixon@illinois.gov>
    Sent: Tuesday, October 13, 2020, 06:12:48 PM CDT
    Subject: Grant #2018-CY-BX-0025 3 Whistleblower Complaints

    Congressman Davis:

    Good evening. As you are aware, I filed Whistleblower complaints regarding Grant #2018-CY-BX-
    0025. In April of 2020, I discussed with you the misappropriation of funds and possible fraud
    regarding this grant, specifically, the drawing down of monies for a previous employee before I filed
    my first Whistleblower complaint on April 17, 2020. You told me I had a duty to report it. I not only
    reported the misappropriation of funds/fraud incident in my April 17, 2020 Whistleblower complaint,
    I reported other incidents of misappropriation of funds/fraud in my Whistleblower complaints dated
    August 29, 2020 and September 13, 2020. On October 13, 2020 I received a dismissal letter from
    the Office of the Inspector General (OIG) for the August 29, 2020 complaint (attached). Apparently,
    the OIG has ignored my April 17, 2020 and September 13, 2020 complaints. Part of the reasoning
    for dismissal in the letter dated October 13, 2020 is I did not meet the threshold of "gross"
    misconduct in my complaint, no retaliation, and that I have no protections under the Whistleblower
    Act.


https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1680632249762317480&simpl=msg-f%3A16806322497…   1/3
10/17/2020 Case: 1:22-cv-03861 Document        #: 11-26
                                       Gmail - Fw:         Filed: 11/14/22
                                                   Grant #2018-CY-BX-0025      Page 45
                                                                          3 Whistleblower   of 74 PageID #:501
                                                                                          Complaints

    Congressman Davis, you sit on the powerful Ways and Means Committee of the House of
    Representatives. After this election, there should be an investigation into the Second Chance Act's
    (SCA) Whistleblower policy. I had the honor of sitting on your SCA Advisory Committee in 2007
    assisting in the language development for the SCA, which President Bush signed into law on April
    10, 2008.

    Congressman Davis, you provided a Letter of Support for my partnership and collaboration with
    EMAGES, Inc. for Grant #2018-CY-BX-0025 (attached). I received an email from EMAGES, Inc.'s
    President, Dr. Wash, reporting I am the Grant Administrator. I have not received any notification
    from DOJ, BJA, OJP representatives Michael Dever, BJA Division Chief, the Honorable Andre
    Bethea, OJP Senior Policy Advisor, and Tracey Willis, Grant Manager, even though I have asked
    for verification via email for Grant Administrator confirmation. Mr. Michael Dever sent me an email
    reporting EMAGES, Inc. is allowed to give Grant #2018-CY-BX-0025 back to OJP. No one from
    OIG, DOJ, BJA, OJP has spoken to me verbally to get any information or to explain my
    Whistleblower complaints. When I go into the JustGrants system on October 15, 2020, I will see if
    Dr. Wash is correct about my assignment as Grant Administrator; even though I do not know how I
    will administer anything because no one is cooperating as you will read in my next paragraph.

    EMAGES, Inc. has the sex offender population for this Grant. DOJ, BJA, OJP allowed Dr. Wash to
    give the grant back, bogusly dissolving herself from the grant; given false information to DOJ, BJA,
    OJP for giving the grant back. Nevertheless, I have sent emails to all the parole agents we were
    working with requesting locations on other sex offender programs so I can transfer services if I am
    the Grant Administrator. The only parole agent who answered my email was Mr. Jackson, and he
    asked in his response email why did I want this information. I told him in my reply email. I have not
    heard anything else from Mr. Jackson. I sent an email to IDOC's Ms. Sarah Brown-Foiles, IDOC
    Coordinator of Sex Offender Services, and Assistant Director of Parole, Dion Dixon, requesting
    information on other sex offender programs in the Chicago and suburban areas of Illinois. I have
    not received a response. I believe someone is hindering my process, and is retaliating against me
    for filing my Whistleblower complaints. If not, what is the reasoning for the non-responsiveness?
    Yet, the OIG dismissal letter reports there is no retaliation.

    Congressman Davis, you have known my family since the 1940s when your family moved to
    Chicago's Westside. You have known me since 2007. Yes, I had a checkered past; but I turned my
    life around almost 30 years ago. I am familiar with criminal behavior; I saw it; and wrote about it in
    my Whistleblower complaints. I did not have a GED at the age of 42. I have had a Ph.D. since
    2009. I am a policy person. As I told you in April of 2020 when I reported the misappropriation of
    funds/fraud, this is about my integrity and honesty. As long as I have known the Honorable Mr.
    Bethea, I have demonstrated my integrity and honesty. If I did not report the misappropriation of
    funds/fraud, then I part of the scheme/problem.

    After the 2020 election, the Ways and Means Committee should issue subpoenas to address the
    SCA Whistleblower policy construct. "Gross" waste and abuse of Federal funds needs to be
    defined. It seems if a grantee steals a little bit of money it is okay. Congressman Davis, this is not
    how the language in the original SCA Bill was constructed. Sir, this is not an isolated event; as I so
    eloquently inform State and Federal judges when addressing abuse and misconduct when
    litigating my complaints over the past 25 years. What is the total waste and abuse if you count the
    "little" theft I address? Anyone can respond. Thank you.

     3 attachments
         10.13.20 OIG Dismissal OSC No Jurisdiction Congressman Davis Letter of Support.pdf
         840K
         9.22.20 Department of Justice SCA Whistleblower Complaints.pdf
         1243K

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1680632249762317480&simpl=msg-f%3A16806322497…   2/3
10/17/2020   Case: 1:22-cv-03861 Document    #: 11-26
                                     Gmail - Fw:         Filed: 11/14/22
                                                 Grant #2018-CY-BX-0025      Page 46
                                                                        3 Whistleblower   of 74 PageID #:502
                                                                                        Complaints

         10.13.20 Whistleblower Email to Congressman Davis.pdf
         58K




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1680632249762317480&simpl=msg-f%3A16806322497…   3/3
10/17/2020    Case: 1:22-cv-03861     Document
                           Gmail - Fwd:             #:Contact
                                        Change Grantee 11-26or Filed:
                                                               Alternate11/14/22     Page
                                                                        Contact/Principal     47 of GAN
                                                                                          Investigator 74 PageID    #:503
                                                                                                          has been Approved



                                                                                 Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>



  Fwd: Change Grantee Contact or Alternate Contact/Principal Investigator GAN has
  been Approved
  6 messages

  Fred Nance Jr. <frednance@clickservices.org>                                               Fri, Aug 28, 2020 at 5:09 PM
  To: "Willis Tracey (OJP)" <tracey.willis@usdoj.gov>, Bethea Andre <andre.bethea@usdoj.gov>
  Cc: "Dr. Fred Nance Jr" <drfred.nancejr@gmail.com>, Joseph Williams <jwilliams@air.org>

    I received this message. What does this mean?

    Sent from my iPhone
    Dr. Fred L Nance Jr
    PhD Human Services
    Social Policy Analysis
    708-921-1395
    www.clickservices.org

    Begin forwarded message:


             From: do-not-reply@ojp.usdoj.gov
             Date: August 28, 2020 at 4:54:00 PM CDT
             To: frednance@clickservices.org
             Subject: Change Grantee Contact or Alternate Contact/Principal Investigator GAN has been
             Approved
             Reply-To: do-not-reply@ojp.usdoj.gov


             The request for Change Grantee Contact or Alternate Contact/Principal Investigator GAN for 2018-CY-BX-
             0025 has been approved. Please access GMS for more information regarding GAN Number 011.



  Willis, Tracey (OJP) <Tracey.Willis@usdoj.gov>                                             Mon, Aug 31, 2020 at 7:13 AM
  To: "Fred Nance Jr." <frednance@clickservices.org>
  Cc: "Dr. Fred Nance Jr" <drfred.nancejr@gmail.com>, Joseph Williams <jwilliams@air.org>, "Dever, Michael (OJP)"
  <Michael.Dever@usdoj.gov>, "Bethea, Andre (OJP)" <Andre.Bethea@usdoj.gov>


    Good Morning,



    This is a GAN, where the Point of Contact has changed.



    Tracey Willis

    State Policy Advisor
    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                           Mon, Aug 31, 2020 at 7:30 AM
  To: "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>
  Cc: "Bethea, Andre (OJP)" <Andre.Bethea@usdoj.gov>, "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>, "Fred Nance
  Jr." <frednance@clickservices.org>, Joseph Williams <jwilliams@air.org>

https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1676308733908969775&simpl=msg-f%3A16763087339…   1/3
10/17/2020    Case: 1:22-cv-03861     Document
                           Gmail - Fwd:             #:Contact
                                        Change Grantee 11-26or Filed:
                                                               Alternate11/14/22     Page
                                                                        Contact/Principal     48 of GAN
                                                                                          Investigator 74 PageID    #:504
                                                                                                          has been Approved
    Why did you change the POC?
    [Quoted text hidden]
    --
    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921-1395


  Willis, Tracey (OJP) <Tracey.Willis@usdoj.gov>                                             Mon, Aug 31, 2020 at 7:49 AM
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>
  Cc: "Bethea, Andre (OJP)" <Andre.Bethea@usdoj.gov>, "Dever, Michael (OJP)" <Michael.Dever@usdoj.gov>, "Fred Nance
  Jr." <frednance@clickservices.org>, Joseph Williams <jwilliams@air.org>, Hattie Wash <washhattie@gmail.com>


    Good Morning Dr. Nance,



    Please refer all issues rela ng to this grant to Dr. Wash.



    Tracey Willis

    State Policy Advisor



    [Quoted text hidden]



  Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>                                                          Tue, Sep 1, 2020 at 8:22 AM
  To: "Dr. Fred Nance Jr." <frednance@clickservices.org>

    FYI
    [Quoted text hidden]



  Dr. Fred L. Nance Jr <frednance@clickservices.org>                                            Tue, Sep 1, 2020 at 8:27 AM
  Reply-To: "Dr. Fred L. Nance Jr" <frednance@clickservices.org>
  To: "Dr. Fred Nance Jr." <drfred.nancejr@gmail.com>, "Willis, Tracey (OJP)" <Tracey.Willis@usdoj.gov>
  Cc: "Bethea, Andre (OJP)" <andre.bethea@usdoj.gov>, "Dever, Michael (OJP)" <michael.dever@usdoj.gov>, Joseph
  Williams <jwilliams@air.org>, Hattie Wash <washhattie@gmail.com>, "Dr. Fred Nance Jr." <frednance@clickservices.org>

    Good morning. On the advice of counsel and legislators, I will pursue these issues in Federal Court.

    /s/Dr. Fred Nance Jr.
    Ph.D. Health & Human Services
    Social Policy Analysis and Planning
    www.clickservices.org
    708-921-1395

    NOTICE: If you have received this e-mail message from Dr. Fred Nance Jr., the e-mail message, and any and all
    attachments transmitted with it are intended solely for the use of the addressee and may contain legally privileged and
    confidential information. If the reader of this message is not the intended recipient, or an employee or agent responsible
    for delivering this email message to the intended recipient, you are hereby notified that any dissemination, distribution,
    copying, or other use of the message or its attachments is strictly prohibited. If you have received this email message and
    its attachments if any, in error, please notify the sender immediately by replying to the message and please delete it from
    your computer. Thank you.


    [Quoted text hidden]




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1676308733908969775&simpl=msg-f%3A16763087339…   2/3
10/17/2020   Case: 1:22-cv-03861     Document
                          Gmail - Fwd:             #:Contact
                                       Change Grantee 11-26or Filed:
                                                              Alternate11/14/22     Page
                                                                       Contact/Principal     49 of GAN
                                                                                         Investigator 74 PageID    #:505
                                                                                                         has been Approved

     2 attachments
         4.17.20 SCA Payroll Fraud Letter.pdf
         1134K
         8.29.20 Whistleblower Complaint Filed.pdf
         101K




https://mail.google.com/mail/u/0?ik=59015a130f&view=pt&search=all&permthid=thread-f%3A1676308733908969775&simpl=msg-f%3A16763087339…   3/3
        Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 50 of 74 PageID #:506




���Jl,__jf;;_���LL;����'.)JJ!._cJ�2-0����������-
                                1
��_____!:.���.d:!'.���L2d.f���
                             , �
                               C /���&c__ZZ:_�/�/J,t�"'--'=-��-

                                .A,                        '4,0z16",e.¥2----




���EJ1��Q___.!c_�:+--'C�h�uR �                                              ry£)-�
                                                                                 - 6���
��--J!.k.0::'f.f:Q_l���J::!!:�/_=µ,ilf?/�4(_"4-,_
.                                                                             -                                                           '
                    Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 51 of 74 PageID #:507


                                    '            j°'C;}          J/lt,<hr,t,,       Z          A,
                                                                                                      t,J,f4.,._f,;oJ
                          </,� 1,{) ,J'e/c. h e4--/../;{_, ;-;:;1e c:C/"'-_/J
                                I
                                                                                                                 L �"1., ,n   �
                                                                                                           (/


              - c                   A,,�     eJ       !tJ /') o-e-c-:
                                                                  I


              .d    �a,,.i,;·                      ,/
                                                          1
                                                           !!}   )l.,;6     4 _,___� £,. "�-
          '
J/ f'li1�                           1/ , Ir,._, "./ I                  _ /.._ �,e_         J;.,,£_±/J,,_k<--
                            ).vt ,._,_ h,d �4 . . . . (Ud'?r-J
    s-:
                               I            I        c-
                                                         u
                           !},t_, Jvr" ,1 t�,;I Jb/UJ.· A'                                      rek.r"c--            ��c ;rt.,
                                            fi                        /                                         ,7            0
                          /J.           ,


                                  .                        '     -
                      c.,�mA??,;��Occl I@;}�
                           ).;f!,t:,;       fl (e,,       ,£lo        /"-/;,,!c,__r:Lr...s
                   . lL    A    A ',-., (>    .ii.'J...    v              v                    fv"O       f,0f cf..u
                           «r= 1'1.M lu--             J. .cv k.s                    ----
                                                                                                                                  •


                                                                                           .




                                                                                                      .



                                                                                                                       ..


                                                                                                                                      -
                                                                                                                                                 '
5/20/2Q20                                  Yahoo
                Case: 1:22-cv-03861 Document     Mail • Second
                                             #: 11-26          Chance
                                                          Filed:      Month Activltles
                                                                  11/14/22    PageReport
                                                                                       52 of 74 PageID #:508


    Second Chance Month Activities Report

     From· Williams, Joseph (jw1lliams@air.org)

    To:     jwill1ams@air.org

     Date: Wednesday, May 20, 2020, 09:23 AM CDT



    Good day to you,



     I hope this note finds you and your family doing well.



    As you might recall we asked you to share with us information about your Second Chance Month activities in early April and the
    impact that COVID-19 had on your plans. We shared this infonnation with BJA and they appreciated the efforts of the grantees
    during this unprecedented time. BJA has made a request asking the NRRC to gather a tittle information on your Second Chance
    Month activities conducted by your grant {modified activities). If you could answer the following questions for me by noon Tuesday,
    May 26, 2020, I would appreciate it.



     Grantee's Name:

     Sentence or two on the activities recognizing SCA month (basically describe the event(s)):




     Sentence or two on the outcomes of the activities (number of participants, was it successful, any feedback from participants, "Aha"
     moments, etc.):




     If you have questions please let me know.



     My best,



     Joseph Williams

     Senior Consultant

     American Institutes for Research

     Email: jwjlliams@IDL..Qfg

     Office: 202-403-6924

     Mobile: 313-505-3577




                                                                                                                                           1/1
Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 53 of 74 PageID #:509
                                                                                   '
Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 54 of 74 PageID #:510
                                                                                   '
Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 55 of 74 PageID #:511


                                                            -    -
    si: +1/v ,,/IA ,,r}Ai,,!1.d,,,/4e,                  I   /'w,/ )   /Jj.   x:
     '
                                                        '        /    Iv



-�.,__JI...              "-�i,,l        J_;,,.___1Pfvf{2-0
                 (/




                                                                             I




                                          .
                                              .




                                                    .
        Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 56 of 74 PageID #:512




 -               weefc-.(7 r><ee/,n c;, --- --
 - flue.- f,,,z_e, �"--!- L � c::�I Ie__c ;;_ 0 ,J

  - M-ee..-f- &J e we-d--- ""'-J 'u� .::
                            I
- - I VLfo / � fYLc:-dt/16
                              J
-       y't-1_ V'Y\.-l   +o -: ' "ti-

  t;)vi e,..,aJ             = e <2-f;,; c.       JO-V t-« e c,,,,-   /Cd J.   It>-<.-
     rs5 o -'1.,;:, /'Y,n4,;;)           J�-r        c.--l�c/;c--,___

       30       ,..._,., ,) �     tJ c   (,-S/



     .f    •J I-- le,; f
     • s,;,,__.__.,l,_/-
      t C .a;       O t-"-""
                    ,t




                                    '
  Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 57 of 74 PageID #:513




      t;,/�(� �4 /'.:t· I G,:'. &/
  d,. /,.;,!/, 7;.A Jfilt�- Pt,,, .e
                            e ,_/ es 1.,w;"'::> , r Pll-l-- "· 4. -�
                            .f?vt..f,

- .-           f/'o                                                                                                  a.;j{y V-
                                                                                                               Se ei».   o;<




- .... 1Z!t:ie.dr/1                                      k£v-/�0                        z: Al-/ kkA-.k---
                    ------------------===--
       /            j   :i.oo- c o -                     th"'�                   f. _   -1.   f'L,b
                                                                                                    , \
                                                                                   '
                               " I)             rv        ....   4   �   CJ� (
        '                      I"                    .,    J

            ':i:.L�o O          • DD




  � (;,Yv/,,£                       A       ---�dn�7!/,L/<z.:6Jka-/!--,,4',tL!Po/Jo
        ,..,            Jf.             /   »                                /
                                                     p,!LL,n e. .
               t.J'j)r£.-           ·�,;    V                            I
       c..11'A')        ,/ / p I "I C,1.#Q




  " ;;,, I-                 s.e: wh d �, .e ��,i                                                                         tv-:.:
  I A          LI       Lt.-,,)�
                                        127 � ,;                                  -<= � -12                   � - . &/g,-1'7..v.l/=---


                                                                                                .




                                                     .




                                                                                                          .
                                                     �           -                                          .
            Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 58 of 74 PageID #:514



                    (;/:/c?--t,                .V /J.            Ad';f/dk_t:�.4,;
              /}_,_. , ;�� //_ cc: cf}:.,,�                                      .Hf-"(�      �



                                   I+ -:It { k-h t,(; &-�
                                     I                       /               /



        �   '- <. . '
              rf"vqA
                     �n:/1-dJ,.,,
                                0




                                  /3-r:1.-k,:/'+- Ar,.,},.,;,
                                    /IA&n,,,o
                                                     Li ,,1/,,'
                                                                      .,--           r-

               /11""'//. • ;,                .. L,       �       ,., ,, �-Lr:._ ../. �        d ,,.__
                           I             /                                       �
                    .

               1   !2-1 IV) dJule.- f /,u_..
              ,ft-/1:uz. ,,v& ckl�_t /l,Jd!._
            1.-z I:. I   '.u,            d; Ju.1,e_ . ::..             J�
            I< ' , 1-i.-o                      /                   / /o.v-f-
                                                                 w1'!w. J    »1d l, ·cufh,t(
                                                                                                        '

                                                                                     .




    '




                                                                                          .




•
r        Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 59 of 74 PageID #:515


                    (p      /r/»:                                                                  .

                        •       (\<!_ /!     A/A   1
                                                       ,,U- /71e'�;i;2 &
          /}A       /,          ,;( ,f/�.,. - ,:;;; Jh,    �       e,,/;�    ?� �,.,, ��.
         I;;::;             -
                            ,
                                  .,..,,:;/,..,,, , .,;/
                                                               )



                                             /


    - ai., ,      ",,_/,<-- 111-f',_j.!,�.,4-v,- Sr'!J?!                    - ,,.__   ,rb-,b
    -     led_ .. /       (JI
    - Y1 o 11.eeJ. £ . .,4�,,, ce.,. -
    - (},t11,f'/U )/Jt-J(- J\<..,Jf)_J...J, 1111 l fv (, ,{ f C\ -le�
    -      I
               .o
                           I '-
                    - ;,.. k.,, fi
                                       "'5
                                                                                      0

     .   � r' L     �   A ,, ,, )

                        ec e    t
                                    'h &Jdu.kfl-f,.,.
                                      I ,t   t �r ti/
                                                                    j,,-y;?§ /eM-"--


                                                                                               '

                                                                   -




                                                                        .



                                                                                          .
        Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 60 of 74 PageID #:516




               1,o/10!:?-"0    <::,   r fl-       Al,4' sr:_,,,t�/li e,.»1         -�
                                                                                              h[J=
        - c.)1 !pl [L.,
                      u
                              Vv vv W         I          Lv   �
                                                                  �--r--   ,44/,_,,fr,fafa,,./cJ,4-g
                                                                                                �


    -   - =r-r-:
         I    d
             AAv-·� z:
                                            Lw,/c_ r,(r,fa--o ;f:Z.-<....� �
                                           .4A k-/rt.-<,,-Mi'«iZ e: rz-« T<;- .
             4:1 L   clu,...,,,,.. - ,,JS,,.             o,._.     6/,, .c,
                          {/
    - - f,0H,                     f;- �.L. -/ek/b�.LJ-1e/ei{e,,;,,(;,e._..
                     t!t,1?4�,
                                                      ,<.,.




    - - (JJ!, /-c� �,t.,.,,-,._fl·.1,JJ
          _/ ,,<'fjL r,':_ ,Jo,_A d.-J--v 6 o�c'-hw�5 -ec>
                                       I     'if-   f/




                                                                                                 I




                                                                      .

                                                                                                       .
•




                                                                              .
                                                                                                                                                       '
6!2412020     Case: 1:22-cv-03861 DocumentGmail - RequestFiled:
                                           #: 11-26       for EMAGES as a company
                                                                 11/14/22    Pagemeeting
                                                                                   61 of 74 PageID #:517


  M Gmail                                                                              Dr. Fred Nance Jr. <drfred.nancejr@gmail.com>


                            ---------------
  Request for EMAGES as a company meeting
  1 message
          ���������
  Dr. Fred Nance Jr.<drfred.nancejr@gmail.com>                                                                   Fri, Jun 19, 2020 at 5:04 AM
  To: nor. Hattie Washft <Washhattie@gmait.com>
  Cc: Daniel Jean <danie1jean716@yahoo.com>, nor. Fred Nance Jr.� <drfred.nancejr@gmail.com>

    Dr. Wash:

    At our meeting Thursday, the mentors, led by a suggestion from Jaime, are requesting a meeting with you and all
    EMAGES staff on the re-opening of EMAGES July 6, 2020. They have health concerns and Daniel and I could not answer
    these questions.

    On another note: Chad did not attend the meeting. This is 2 weeks in a row. A total disregard for our processes of checks
    and balances. When I requested Recording our meeting, Valerie was the only objection. These actions are unacceptable.

    ! told Valerie she is welcome not to attend any meetings and receive a copy of the recording. I am not going to take
    minutes or notes of our mentor meetings to distribute to the mentors when we have access to record the meeting via
    Skype. Again, no one objected, only Valerie. Any notes I take are personal and for my review and possibly management.
    Therefore, we do not have any documentation of our meetings. This was a scheduled requirement or job description for
    the MA'AT clerk.

    /s/Dr. Fred Nance Jr., Ph.D.
    Human Services/Social Policy Analysis
    Program and Policy Development
    708-921·1395




htlps://mai!.googla.com/mai!lu/O?ik"'59015a 130f&vtew=pt&search=all&pennthida::thraad-a%3Ar-5960964593992593793&simpl"'msg-a%3Ar-16681206 .. ,   1/1
Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 62 of 74 PageID #:518




                                                      �                     7




                 I S'u.   oD                         Do
                                                   xr
               ".)OiJ -
                                                                                                            •
            Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 63 of 74 PageID #:519




------tt--=-Lf---"'+"'-::..._c'-"_(:A
                                   '              g(,/1A-/ )°.,u,0� �hG
                          & .;l_: CO         w,




                                                                                                 '
             h ,y.;   ,ie)-,,,d ,.._/t....+- (!.,,;IIA,t, o"--'Vf--2   c- � ·   C!.,   ,   Je.MJ, ,_,,,,.
                                                                                              '
           Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 64 of 74 PageID #:520




                                  ���
--------+!-{J_ 6 I fv     Jdf,o                                .)...,      ;J�/-+
                   'M        /"'--   '2   t,I,   'cc..:-/A!4' '.l.='-4A=---=--------
�   ---                                                                             --
               Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 65 of 74 PageID #:521


                                                                                                _J/�J--
                    ,/)..-,,,./- AA'/!-7 �;2�                                   4t�c::
                                                              -
               17,;_. /J�
               1,7._.       /J,��., �,- �
               a:           ,r/4nd,._
                4/�
                            ' ( hrl,J c_d__          j    .
                                                              -?e-/J
          -         1A- ,� ,,,,,,.._ &f-            v4t-; �"- ,                 fv, ft, "¥- "'" ._,. I"-�.,,,:,_""'-
                !?,._ . )/4=-,:.,-        cft.,>--J th. .        Iv, �-,,,J                 c.,,,.,,,4,/ &,,,� ./a               '!A-

      �
          /'
               t,

               t::ft �ty_,#q Anv 'fi?".J/-Vl!vt--
                  wic�(J,
                    vtMII
                                                                            Sty17--<---fk&fr'1c c-J�
                                                                                    fNv

     -                !1v{__,.;   Y /'. lt..t.«.(        ·· I"/ e e, J._k ,4 A"-0v .,k-u
                    <"Ir�   t   aus. 1tl1G          z{f-J.l ;JfA.4mn� .,,Ji_ai Wl � ,1.                                         ,,.,_
                HA�          J., k k,_.:�phv>-,p-._w,l?J -1,,                                      A-       -   /   /   &
                o t!"f-ll�             e,.(f /u;;..,.                                     :i'           I
     - fuplt ,)A,;                       '71-�4,r-fa!m"<,<--- t!efv/_
                                                                -,:;r /-c:                                                  '
     - Sd.vLf-<--- � /}'1,ckk
                                                                                                                                        -
                                                                  z cd-?, ,./-r;...=
                                                                                .
      -         !'(A I cU7?1P.J
                        fl.--1-,ltA/Jv,,.,.___ t.,,tC�
                                                     Vh.. �

                ��k�-#-tp,;1JJ-1 i_)._4-:7/¢�
     _j( � Jn,,,, �b' 4Pf-� Vt ,J�                                     l,'h-   �4{_,c..,.(eu.""' c: ��,,./_:,_

      -         � tJKh                k,yJ,v/ 9u�f,v,.,,,,11tt-?1�e)/A"'-;t..,.._
                                                    �,>J.



               6', l,. fu.wwJ�____h,�s '¢ I I /,,fv, 1'f!-_m-vf14//hd,r,-,,:, e._
               U11.A-�                                                                      -                           1

                     v
-                                                                                           •
         Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 66 of 74 PageID #:522


                                                                            )�;;..___
            7h<71"�         4.ft_f-7J't,4- �� G
        . L-:,.:/1;.
                         �e-c-�d,-4· cl±k
         .,__/nok£ � .' Sct:/U-o .s�c:-= ,;) ,,, ,cl,.,_/.. ,_,
                                         7                              r
    - ... /-h7�./7fl-A-/��/"'--/#"�£-
        �;u�-;V-fi/6/u.72'.. -f�#7-.- fi=-<=

    - ,._   �     (i l"-tJj,._v'L v;t11,o-/f' /7�
          pl/(,<,
          ,- c-:'1. ,<_�

    - t.. 1'#1��4 Yleed&!'�s=�&£1:/,j-
        4    ,ye
               '17�-y�A->--
    - h ol, l'l I c,,,,£-Ji � I 1. hr� �                 €-"'-. 1   &
                                                                                        '
    -                                                                   �
          fJ.,.
                                                     »:
                                       v0l(riMJ."' J. A/J>v tAflJ             �ft!,C,M--"
                  1, J, #iuw/lol!VI,
         ��ov1Pr If:                          (X;J
    -       J},t,. µ, IJ«,jl,,,,,.,__.w;/L� /LcJu-.�23:J[ ,&w/C e..
          d.dv/,-, f!.1YA�c;.                                           -t/-
                  Of/
    - lL
    r
             'i�e11t;t7111"-'    f>//e,L/J -:ii_Lo?t/ 1u-A,�/6A--O�
                 v                                       I  T



                                                                    .




                                                     '
Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 67 of 74 PageID #:523




                                        MA'AT Project

                                       Meeting Agenda

                                       July 30, 2020



 1.   Collaboration /
 2.   Module 3
            •       Goals and Objectives
            •       Content Validity   V
            •       Content delivery for facilitation of knowledge retention   V
            •       Fidelity V
            •    Style/Responsivity �
 3.   Preparation V
 4.   Pre-test trauma /
 5.   Pre-test Mentoring V
 6.   Documentation         V
                •    Services
                •    Referrals (New Referral Form)
             • Progress Notes
 7.   Updates of Participant Status,../
 8.   Mentors Evaluation ../
 9.   Feedback & Suggestions from Mentors
        Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 68 of 74 PageID #:524




                r?iZ�  u�/      ? 6
                 6)_di�+/Jd171��-t_o/_2(i-�
         ,#, •

    -   - _E; S51,6                                    c -j2.de.-g_k,1-µ__ cA,u_/.u
                          1


                              ,/;..g.f   /U(/1/'f .4                                         VI�



    - fJ�1r
       W,fb.@J__JJJd--z. 8fA-GA,) f- ,.,,. f3<,__;l.J�, ;.LA-
              A                iJn •
                               t0 AC cff:? �
                                             )
                                                    P
                                                 v<-p,._,__d�,?__.k.- /"qt.h-L�A:_
        ())/,id: 4 f1J7/lt,,v., /e/,./,, t-<--fa�� !'14-A �                    -
    -     iJ�            J'ftll,11e!-,/,��LA�c� - whd/IA--<-"1-l�r>=


    -     /},., W, lf.t,._,. ,,,J - fb.-<..-.st3'gd-"CLU�1-d.t-1-,Ur;4!ZA-

           I.   ,,i(,.tlr?      M. cgif-?;( k,q4,1,;           �   MC,bdV-Lb       tJg
          };vM-Wrfl: /ltffl¥;;/.� mnf-;{v '"'fj- - ['di!
                  J;v0 kS•,Jf �J �
                                                                                         '
    --    <4-U-�/�o/1"d,r �
          , 11A. o�k4z..-<---
                                                                     aJ-�
                  V 1.14,-61v=Z--Ot{,t.6j7("'4'?-a,;.f'            k,.)   VIU«?


    -     r,     .l /)"-. tJ,�;z.t/n,,_. /,,.,,L../       {/
                                                               c- /�,,,, 2_nee-k1c
                                                                     /


'
    - � h!,!lt,nv,; t: J..J,     - ?�c--=, w,a,(,, ,µ4,.__
                                          J_,?v,.J

        Jdiv,,,,,i z;)4/.�f4;..,.k� jf ,.e�· /ww Jo
        !Mk    w4ftt�..,_,._ ��,.)--.,£.._. s ,.,,4-£/{J;;-lv v 10 -17
          s0/x;l!1!L/. �1, rl"txb/v"'t.-1 �A�
         'lv<.nh111JtA1MC7_g-�.uv15�<-��___Advd co1111J-I�·
         I I,'/ fl (.O   !-1�p.d�/=                                            .
                                                                                                             -
                                                                                                                 '
         Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 69 of 74 PageID #:525




              d"E'� S#,_ &fed__ac;                                  !/�
    - �ev.., {s                        J ,__ s/o
                                      {/     r



    -         (],..,vi   &vf- f e ,(,(Jr,,-,.._,:   So/f1v        e,ll(;f-6e:J �,,_,_� �.,..J6.r-�e..-f
              J�             Q.�
                                           "-4�/t-�����frv
                                                                                                         .
    - 0h,,j_ to 'il=Jo(t-t,.-,
                               � ����
                                     l,fC
         -:· ,ee.ift-;./11flJ 'fifJ= ;               ..3-7-o/'_/.,_,4 jfe.e,!_

    - ... ;. -"
    - Jef-Mvl u'j,.A�'-.,,4 /Ut:/6.b:7_ �kc.,
         1-




    -    � 01tY11t-C-- °cl/.y�/tGu.J't'--ZC,/ V,,6 7,e+,,.,,,,,:;

     .
         l--(V.
                         �,,.,__,f,tAf�&e.t-""'
         'L.51'1:(.._;Jo,J,/�LJ/I                       flA   o(eo,zl,
                                                                                   /,Je/fetm:7<3{£_.
                                                                                                     '
    -    i,


          J
              �Jr--rlr1;{j/u.J
                = v>[..    fh                c7'
                                                         1Ylor?_�£-,----� 1�1---
                                                   r,._, L..:
                                                              .
.   - '- ',       I 1..1   IV1..<._    cdf.t..J                    -/e.-,   tw   c..,...,. -k-f s:
              SA,·v                                                                        .
                ii
    - �- r71f-/,z.,o //'/Jr,'A1[/?A1//1/I(, ,��                                  I too I


              �f1U1;f!J (P4,'4-ftCC�L                             �lo.
                                                                                            '
         Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 70 of 74 PageID #:526




��4t- - -.'. .--79��:=_E;_�  �
                          m A7Jd.�/,._,_k.fJ-'-L-'C�
                                                   � ����-
                            =

            _J.�--31�wpb  �                               Y4-uJ ;;�
---- -1 - 1-�
------U.-"'"' ,
                   ��� er
                                           A&


__--=4-(e,� e;,;,1Aye.g�,tfo#?,:...,,, L //!O'-r-'o"-"o=_-
                                                        o                                   _
              G(d:bw.,ltn-s...-'ff,L=.A,(_.."" "- -------------

----!i--�,Ll2     2-o    Le-J/�A. /J, f&.y,,-j
                          �



          t:,wi-;;J_ J.Mo�1{lr1,;f.u-� t, /2_A - /J,'fk,<f/"'-'()'-'-',J'----------




   '
             Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 71 of 74 PageID #:527




              x/7/2-<> Cov.l��uJ�       .
             ( /AflLC         ���;fa�EM'
                               r,,&�&rb2J
        - - vAvL               11'JK/i11� ��
                                                                                  a,<.../""='
-t�· -
                                                                     <:...   /o
                 �� J,h;(�                  /V/"7, �l

 �/          v                               C/
  ,,@)_        +',-,A    J ,     A-u/1'::-f e,d��<.,!tfh��r'7/?-
             :fP-       ow� .r; ,£)!__ ,l�dtJ"<:J       ,



-ti-hf� ��Lll/r.1--;r-1-c1m4ft_t-1,t0i_ ./p/4 EAci:.,._/J-/ffltC/6'-
    (3) - - tJ�d-:170-t--11...                     tt.�t',!fa-<-<---� .Mffk
                                           ft,€eentl'l61
           lv,(/X., e,,.,./,tl
               v               CJ
                                     6_, �= J«,fm,g/16
       -       II',, lffil h-n      eJ-M    ?<.Jud

        (
         (
             � ;�B·                 z,   k/ee-1�c[T                                             '
        /    �1
                         fj-�/L/-fawdtr':
                                      J���i,,.6,. d_

             AJhJ rlv(,f_[(JJ /;Jl/jµ_(£_UJ�h,e_:
             )1.5 · C:"' 6_S !'--..r<f'k.1 r.vo   M   /! �t,-.:,
        .    U/z&k.s1-LL /vd_o . ;,.,._ �                  ·.. . (/ );, .J;J.J..� ft-?21'. 41.

        ik Ok/-Af-"'V> m�)__Lcn.,__t)-�"-J�h��v/ ,J�,,__
Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 72 of 74 PageID #:528
            Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 73 of 74 PageID #:529




------ 1 l1 f-Lt??vut "1�(/n&A-iJo!)O Jf                    'l)J-f, /g{<)?,,-C(!q-
                    11.f-1?- jhlttc?//47([ k/zl/Jv/
----11'-"""oe.:./,;__: ,
Case: 1:22-cv-03861 Document #: 11-26 Filed: 11/14/22 Page 74 of 74 PageID #:530




    .      nt   Mh        f.
                         CJ       a J,.1   «., I 7 j)t,. '   o 1,.1 n.l
    II   'J:J AL   ,N,   µ
